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Angola* Luanda                          Tel. +61-2-9333 0000                      Tel. +55 31 3261 6231
DHL Global Forwarding (Angola)          Fax +61-2-9333 0118                       Fax. +55 31 3286-5556
Comersio E Transitario LDA
Rua Kwamme Nkrumah 274/276              Austria * Graz                            Brazil * São Paulo
Luanda Republica de Angola              DHL Global Forwarding                     DHL Logistics (Brazil) Ltda
Tel. +2442 395180 ex 229                DHL Logistics (Austria) GmbH              R. Jaceru, 151 –1/2 Floors
Fax +2442 335281                        Flughafen Graz                            04705-000 São Paulo, SP
                                        8073 Feldkirchen, Austria                 Tel. +55-11-5042 5500
Argentina * Buenos Aires                Tel. +43-316 293127                       Fax +55-11-5042 5501
DHL Global Forwarding (Argentina)       Fax +43-316 292806
S.A.                                                                              Brazil * Campinas
Bernardo de Irigoyen 308                Austria * Vienna                          DHL Logistics (Brazil) Ltda
1st & 4th floor                         DHL Global Fotwarding                     Av Moraes Salles 711
C1072AAH Buenos Aires                   DHL Logistics (Austria) GmbH              120. Andar - Centro
Tel. +54-11-4344 4000                   Air Cargo Center Objekt 250               13010-001 Campinas SP, Brasil
Fax +54-11-4343 8805                    1300 Vienna Airport, Austria              Tel. +55-19-3731 5500
                                        Tel. +43-(0) 50345 2853                   Fax +55-19-3237 4047
Australia * Brisbane                    Fax +43-(0) 50345 2995
DHL Global Forwarding (Australia) Pty                                             Brazil * Curitiba
Ltd                                     Bahrain * Bahrain                         DHL Logistics (Brazil) Ltda
Unit 1, 663 Kingsford Smith Drive       Danzas Bahrain W.L.L.                     Rua Carneiro de Lobo
Eagle Farm, Qld 4009                    Gulf Warehousing Distribution Centre II   468 - Suite 302
Hamilton Qld 4007                       Shop / Store 2                            80240-240, Curitiba PR
Tel. +61-7-3866 6800                    Gate 415                                  Tel. +55-41-3312 5200
Fax +61-7-3866 6850                     Road 4308                                 Fax +55-41-3244 2141
                                        Area 343
Australia * Hobart                      Mina Salman Industrial Area               Brazil * Manaus
DHL Global Forwarding (Australia) Pty   Kingdom of Bahrain                        DHL Logistics (Brazil) Ltda
Ltd                                     Tel. +973 17 728151                       Rua rio Madeira, 68-Sala 14, 30 Piso-
Suite 4A, Level 3                       Fax +973 17 728187                        N.S. das Gracas, Rio Madeira Center
The Galleria                                                                      69053-030, Manaus AM, Brazil
33 Salamanca Place                      Belgium * Antwerpen (OFR)                 Tel. +55-92-2121 7900
Hobart 7000                             DHL Global Forwarding (Belgium)           Fax +55-92-3234 4842
Tel: +61 3 62339200                     NV/SA
Fax: +61 3 62339222                     Antwerpsebaan 56                          Brazil * Recife
                                        B-2040 Antwerpen, Belgium                 DHL Logistics (Brazil) Ltda
Australia * Melbourne                   Tel. 32-3-5610300                         Rua Da Matriz, S/N Parte 15
DHL Global Forwarding (Australia)       Fax 32-3-5610339                          54530-00 Cabo de Santo Agostinho
PTY Ltd                                                                           Tel. +55-81-3522 8200
96-106 Link Road                        Belgium * Brussels (AFR)                  Fax +55-81-3522 8238
Melbourne Airport                       DHL Global Forwarding (Belgium)
VIC 3045                                NV/SA                                     Brazil * Rio de Janeiro
Australia                               Building 720                              DHL Logistics (Brazil) Ltda
Tel: +61 3 9344 8888                    B-1931 Brucargo, Belgium                  Rua Barâo de tefe 7, Sala 501, Edificio
Fax: +61 3 9344 8988                    Tel. +32-2-752 0251                       Leâo I
                                        Fax +32-2-751 9383                        20220-460 Centro , Rio de Janeiro
Australia * Perth                                                                 Tel. +55-21-3543 2800
DHL Global Forwarding (Australia) Pty   Botswana * Gaborone                       Fax +55-21-21027212
Ltd                                     DHL International Botswana (PTY)Ltd
Cnr. Horrie Miller Drive and Fricker    Plot 20610 Western Bypass                 Brazil * Santos
Road, Perth International Airport       Broadhurst Industrial                     DHL Logistics (Brazil) Ltda
Newburn, Western Australia 6104         Gaborone - Botswana                       Rua XV de Novembro, 119
Tel. +61-8-9270 1900                    Tel. +267 391 2000                        Centro - Santos, SP - CEP 11010-151
Fax +61-8-9270 1999                     Fax +267 391 6991                         Tel. + 55 13 3213-2000
                                                                                  Fax + 55 13 3213-2001
Australia * Sydney                      Brazil * Belo Horizonte                   Bulgaria * Sofia (AFR)
DHL Global Forwarding (Australia) Pty   DHL Global Forwarding                     DHL Express Bulgaria EOOD
Ltd                                     Rua Jaceru 151                            DHL Global Forwarding
23 O’Riordan St Alexandria              Sao Paolo                                 Sofia Airport, Eastern Tangent St.
New South Wales 2015                    Brazil



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BG-1528 Sofia, Bulgaria                    Canada * Mississauga                   Tel: 86 10 8458 2233
Tel. +359 2/971 41 45                      DHL Global Forwarding                  Fax: 86 10 8458 2388
Fax +359 2/970 80 20                       100 World Drive
Burkina Faso * Ouaqadouqou                 Missisauga, Ont. L5T 342
DHL International Burkina-Faso             Tel (905) 405-9300
S.A.R.L.                                   Fax (905) 405-9301
Ave de la Resistance de 17 Mai                                                    China * Beijing (Air Freight)
01 BP 3095 Immebule CGP                    Canada * Ottawa                        DHL Global Forwarding (China) Co.,
OUAGADOUGOU 01                             DHL Global Forwarding                  Ltd. BeiJing Branch
Tel : (226) 311947                         210 Colonnade Road, Unit 9, Nepan,     Rm.301 Hong Yuan Logistics Center A
Fax (226) 310590                           Ontario K2E 7L5                        No.1 FuQianEr Street, Tian Zhu Town,
                                           Tel. +1-613-224 4839                   Shun Yi District,
Cambodia * Phnom Penh                      Fax +1-613-224 6091                    101312 Beijing, P. R. China.
DHL Logistics (Cambondia) Ltd.                                                    TEL: +86 10 6453 3588 / 3688
Regency Complex A, 1st Floor,              Canada * Sarnia                        FAX: +86 10 6457 1553
No.8A/298, Mao Tse Toung Blvd              DHL Global Forwarding (Canada) Inc.
(St.245),                                  555 Venetian blvd, Room 310            China * ChangChun
Sangkat Tomnoubteouk, Khan                 Point Edward,                          DHL Global Forwarding (China) Co.,
Chamkamon,                                 Ontario                                Ltd. ChangChun Branch
Phnom Penh,                                N7T 0A9                                Room 1105, Tower A, Zhong Yin
Kingdom of Cambodia                        Canada                                 Building
Tel: +855 23 885968/9                      Tel. +1-519-336 4194                   No. 727 Xian Da Lu, Chao Yang District
Fax: +855 23 885967                        Fax +1-519-336 5331                    130061, Changchun, P.R.China
                                                                                  Tel: (86-431) 88927762
Cameroon * Douala                          Canada * Toronto                       Fax: (86-431) 88927795
DHL Global Forwarding Cameroun S.A.        DHL Global Forwarding
22, Rue Pierre Loti                        6575 Davand Drive                      China*Changsha
B.P. 625 Douala                            Mississauga, Ontario L5T 2M3           DHL Global Forwarding (China) Co.,
Cameroun                                   Tel. +1-905-564 0464                   Ltd. ChangSha Branch
Tel: +237 33 42 38 72 / 33 42 38 74 / 33   Fax +1-905-564 5312 (Air Freight)      Room 1106, Cyber Times,
42 38 76                                        +1-905-564 6201 (Ocean Freight)   No.456 Wu Yi Road
Fax: +237 33 42 38 40 / 33 42 38 54                                               Changsha, Hunan
                                           Canada * Vancouver                     410011 P.R.China
Canada * Calgary                           DHL Global Forwarding                  Tel: +86-731-84585531
DHL Global Forwarding                      #230-13091 Vanier Place Richmond,      Fax: +86-731-84585534
Bay M, 908-53rd Avenue N.E.                British Columbia V6V 2J1
Calgary, Alberta T2E 6N9                   Tel. +1-604-207 8100                   China * Chengdu
Tel. +1-403-516 1900                       Fax +1-604-207 8101                    DHL Global Forwarding (China) Co.,
Fax +1-403-516 1904                                                               Ltd. ChengDu Branch
                                           Canada * Windsor                       4/F, Building C6
Canada * Edmonton                          DHL Global Forwarding                  No. 81 Tuoxin Street, Tianfu Software
DHL Global Forwarding (Canada) Inc         4230 Industrial Road STE D             Park
Bay B, 2322 - 5th Street                   Windsor                                Chengdu 610041
Nisku AB T9E 7W9                           Ontario N9C 3R8                        P.R.China
Canada                                     Tel. +1-519-972 1994                   Tel. +86-(28)8667 6860
Tel: +1 (780) 979-0001                     Fax +1-519-972 5614                    Fax +86-(28)8667 0303
Fax: +1 (780) 979-0002
                                           Chile * Santiago de Chile              China * ChongQing
Canada * Fort Erie                         DHL Global Forwarding (Chile)S.A.      DHL Global Forwarding (China) Co.,
DHL Global Forwarding                      Calle Roger de Flor 2736               Ltd. ChongQing Branch
61 Queen Street                            Oficina 11 y 21                        Room 9-1 & 9-2, 19f Zhongxin Mansion
Fort Erie, Ontario L2A 1T7                 Las Condes, Santiago de Chile          No 1 Jianxin South Road, Jiangbei
Tel. +1-905-871 2222                       Tel. +56-2-4737100                     District
Fax +1-905-871 1400                        Fax +56-2-4370500                      Chongqing, 400020 P.R.China
                                                                                  TEL: +86 23 8816 0907
Canada * Montreal                          China * Beijing                        FAX: +86 23 6739 8323
DHL Global Forwarding                      DHL Global Forwarding (China) Co.,
555 Montee-De-Liesse                       Ltd. BeiJing Branch                    China * Dalian
St-Laurent Québec H4T 1P5                  Room 2201, Tower A, Eagle Run Plaza,   DHL Global Forwarding (China) Co.,
Tel. +1-514-734 4542                       No.26 Xiaoyun Road,                    Ltd. Dalian Branch
Fax +1-514-344 3638                        Chaoyang District,                     Room 2110 Ping An Building
                                           Beijing, 100125 P.R.China              No 24 Renmin Road
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Dalian, 116001, P.R.China                China * Hangzhou                        DHL Global Forwarding (China) Co.,
Tel: +86 411 8253 6706 / 6727            DHL Global Forwarding                   Ltd. LianYunGang Branch
Fax: +86 411 8680 2772 Ext 34            Danzas Z.F Freight Agency Co.           No.21 , YuanQian Road
                                         Ltd. Hangzhou Branch                    11/F ZhongHua Logistics Building
China + Dongguan                         Room 804, 8062, Building C              222042, LianYunGang, P.R.China
DHL Global Forwarding (China) Co.,       HuangLong Centry Plaza                  Tel : (86-518) 8232 – 4170
Ltd. DongGuan Branch                     No.1 Hangda Road                        Fax : (86-518) 8223 - 9968
Room 505&503 Hua Kai Tower, Sheng        310007, Hangzhou
He Road,                                 Tel. +86-571 8738 1888                  China * Nanjing
Nancheng Area,                           Fax +86-571 8738 1889                   DHL Global Forwarding
Dongguan, 523071,                                                                Danzas Z.F. Freight Agency Co Ltd
GuangDong Province,                      China * Harbin                          Room 1213 Dong Lian Building
P.R. China                               DHL Global Forwarding (China) Co.,      No.45 Zhong Shan North Road
Tel: +86 (769) 88994722                  Ltd. Harbin Branch                      210008 Nanjing
Fax: +86 (769) 88994720                  Room 612, Poly Technologies Plaza       Tel. +025-83311 123
                                         No 93, Zhongshan Road                   Fax +025-83311 283
China Foshan                             150036, Harbin, P.R.China
DHL Global Forwarding (China) Co.,       Tel: 0086 451 82393022                  China * Nanchang
Ltd. FoShan Branch                       Fax: 0086 451 82393084                  DHL Global Forwarding (China) Co.,
Room 1007, ChuangYe Plaza, No. 215                                               Ltd. NanChang Branch
FenJiangZhong Road,                      China * HeFei                           Room 2610, Building 16B,
Foshan, 528000,                          DHL Global Forwarding (China) Co.,      Hengmao International Central Mansion
GuangDong Province,                      Ltd. HeFei Branch                       No. 205 South Plaza Road
P.R. China                               Room 901, Building A, Fortune Plaza     Nanchang, Jiangxi
Tel: +86 (755) 8312 2028                 No. 278 Suixi Road
Fax: +86 (757) 8312 2048                 Hefei 230041, P.R.China                 China * NanNing
                                         Tel: (86-551) 566 6228, 566 6276, 566   DHL Global Forwarding (China) Co.,
China + Fuzhou                           6277, 566 6278                          Ltd. NanNing Branch
DHL Global Forwarding (China) Co.,       Fax: (86-551) 566 6248                  Unit 820, Jin Yuan Cbd Plaza,
Ltd. FuZhou Branch                                                               No.63 Jinhu Road,
Unit 02, Building B, 8/F, Worldwide      China * HuiZhou                         Nanning, 530022 P.R.China
Plaza                                    DHL Global Forwarding (China) Co.,      Tel +86 (771) 2368 351
No.158 WuSi Road,                        Ltd. Huizhou Branch                     Fax +86 (771) 2368 360
Fuzhou 350003                            Room 2102, Dewei Building
Tel (Ocean):0591 88014293                Yunshan West Road # 4, Hui Cheng        China * Ningbo
Fax (Ocean):0591 88014298                District, Huizhou                       DHL Global Forwarding (China) Co.,
Tel (Air):0591 88014292                  Guangdong 516003 P.R.China              Ltd. NingBo Branch
Fax (Air):0591 88014292                  Tel: +86 752 7838338                    7/F, Building A, Pacific Plaza,
                                         Fax: +86 752 2535569                    No.555 Jingjia Road ,
China * Guangdong                                                                NingBo, P.R.CHINA 315040
DHL Global Forwarding                    China * JiNan                           Tel +574 27700600
Danzas Z.F. Freight Agency Co., Ltd. –   DHL Global Forwarding (China) Co.,      Fax +574 27909970
ZIS DHL Danzas Air & Ocean -             Ltd. JiNan Branch
Zhongshan Branch                         Room 29d, Jin Long Center Plaza,        China * Qingdao
No.22 Ground Floor, QiJiangYuan          No. 229 Louyuan Road.                   DHL Global Forwarding (China) Co.,
YueLaiNan, ShiQi, Zhongshan,             250012, Jinan, P.R.China                Ltd. QingDao Branch
Guangdong 528400, P.R.China              Tel: +86 531 5556 8909                  17F, Flagship Mansion, Sunny World
Tel. +86 760 8927326                     Fax: +86 531 5556 8908                   No 40 Hongkong Middle Road
Fax +86 760 8815501                                                              Qingdao 266071
                                         China Kunming                           P.R. China
China * Guangzhou                        DHL Global Forwarding (China) Co.,      Tel. +86-532-5718 081
DHL Global Forwarding (China) Co.,       Ltd. KunMing Branch                     Fax +86-532-5718 504
Ltd. Guangzhou Branch                    3Floor, No. 998 North of Haiyuan Road
Room 2503-2507, Teem Tower               Kunming 650106,                         China * Shanghai (Head Office+Ocean
208 Tianhe Road, Tian he District        Yunnan                                  Freight+Sales)
Guangzhou, 510620                        People’s Republic of China.             DHL Global Forwarding (China) Co.,
GuangDong Province,                      Tel: 0871 - 355 2618/19,                Ltd
P.R. China                                    357 0931, 352 6767                 14FLR, Orient International Finance
Tel: +86 (20) 3810 9800                  Fax: 0871 - 355 3700                    Plaza.
Fax: +86(20) 3810 9943                                                           No. 318 South Zhongshan Road
                                         China * LianYunGang                     200010, Shanghai
                                                                                 People’s Republic of China
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Tel: +86 21 2306 8000                                                          China * Xuzhou
Fax: +86 21 2320 1502                 China * Urumqi                           DHL Global Forwarding (China) Co.,
                                      DHL Global Forwarding (China) Co.,       Ltd. XuZhou Branch
China * Shanghai Pudong Apt (Air      Ltd. Urumqi Branch                       Room 1315-1317, Fanya Building
Freight)                              Unit 313, 3/F.Airport Group Center       No. 93 Pengcheng Road
DHL Global Forwarding (China) Co.,    No.46 Ying Bin Road,                     Xuzhou, 221003, P.R.China
Ltd. Shanghai Branch                  Urumqi,830011,                           Tel: 86-516-8360 7523
No.529 Hai Tian Yi Road, Pudong       Xinjiang, P.R.C                          Fax: 86-21-2320 1683
Intl Airport ,201202 Shanghai, P.R.   Tel: +86 991 2836 136
Tel. +86-21-6835 9866                 Fax: +86 991 3805 170                    China * Yantai
Fax+86-21-6835 9820/9821                                                       DHL Global Forwarding (China) Co.,
                                      China * WenZhou                          Ltd. YanTai Branch
China * Shenyang                      DHL Global Forwarding (China) Co.,       Room 1215, Sanshui Mansion,
DHL Global Forwarding (China) Co.,    Ltd. WenZhou Branch                      No. 75 Bei Ma Road,
Ltd. ShenYang Branch                  Room C, 10/F ZhongTong Mansion           Yantai 264000
Room 1206, Tower 2, City Plaza        No 311 XinChengDaDao Road                P.R.CHINA
No.206 Nanjing North Street, Heping   325000, WenZhou, P.R.CHINA               Tel: +86 535 666 9020
District,                             TEL: +86 577 8997 1398                   Fax: +86 535 666 9019
Shenyang, 110001 P.R.China            FAX: +86 21 6196 5603
Tel: 86 24 2334 1521                                                           China * ZhengZhou
Fax: 86 24 2334 1542                  China * Wuhan                            DHL Global Forwarding (China) Co.,
                                      DHL Global Forwarding (China)            Ltd. Zhengzhou Branch
China * Shenzhen                                                               Room 109, Mansion A, Runhua
                                      Co., Ltd. Wuhan Branch
DHL Global Forwarding (China) Co.,                                             Business Garden
                                      Room 2912, Tower1, New World Trade
Ltd. ShenZhen Branch                                                           No 24 Jinshui Road, Jinshui District
                                      Tower
7F PRD BUILDING. NO12 SHIHUA                                                   450012, Zhengzhou, P.R.China
                                      No.568 Jianshe Avenue, Jianghan
ROAD                                                                           Tel: +86 371 5562 3800
                                      District
Futian Free Trade Zone,                                                        Fax: +86 371 5562 3802
                                      Hankou Wuhan 430015,
Shenzhen, 518038,
                                      P.R. China
GuangDong Province,                                                            China * Zhongshan
                                      Tel: +86 27 85448772/85267720
P.R. China                                                                     DHL Global Forwarding (China) Co.,
                                      Fax: +86 27 85267740/85267805
Tel: +86 (755) 2218 2222                                                       Ltd. Zhongshan Branch
Fax: +86 (755) 2547 6600                                                       Room 509, North Tower, Holiday
                                      China * Wuxi
                                                                               Plaza, No.6 Xingzhong Road,
                                      DHL Global Forwarding (China) Co.,
China * Suzhou                                                                 Zhongshan 528403,
                                      Ltd. WuXi Branch
DHL Global Forwarding (China) Co.,                                             GuangDong Province,
                                      Unit 1105, Lihu Mansion
Ltd. SuZhou Branch                                                             P.R. China
                                      No 168 Lihu Road
23f, Sovereign Building                                                        Tel: +86 (760) 8836 1600
                                      214122, Wuxi, P.R.China
No.8 Suhua Road, Industrial Park                                               Fax: +86 (760) 8836 1604
                                      Tel: +86 510 8522 3095
Suzhou, 215021 P.R.China
                                      Fax: +86 510 8522 3783
Tel. +86-512-62882800                                                          China * Zhuhai
Fax +86-512-62882900                                                           DHL Global Forwarding (China) Co.,
                                      China * Xiamen
                                                                               Ltd. Zhuhai Branch
                                      DHL Global Forwarding (China) Co.,
China * Tianjin                                                                Room 2212, Yue Cai Building,
                                      Ltd. XiaMen Branch
DHL Global Forwarding (China) Co.,                                             No.188 Jingshan Road, Jida Zhuhai
                                      Unit F & G, Floor 29, International
LTD. TianJin Branch                                                            519015,
                                      Plaza
Rm201, No 1, The 2nd Street                                                    Guangdong, China
                                      No.8 Lujiang Road
Tianjin Airport, Tianjin 300300                                                Tel: +86-756-3808998
                                      361001, Xiamen, P.R.China
Tel. +86-22-8319 5080                                                          Fax:+86-756-3808995
                                      Tel. +592 8120263
Fax +86-22-8319 5076
                                      Fax +592 8120208
                                                                               Colombia * Bogotá
China * Taiyuan                                                                DHL Global Forwarding (Colombia)
                                      China * Xian
DHL Global Forwarding (China) Co.,                                             Ltda
                                      DHL Global Forwarding (China) Co.,
Ltd. TaiYuan Branch                                                            Avenida Calle 26 No. 85B-09
                                      Ltd. Xi’an Branch
Room 430, Jinguang Building                                                    Bogota
                                      Unit E, 25 Floor, Laosanjie Millennium
No 38 ShuangTa West Road                                                       Tel. +57-1-4292 900
                                      Star Mansion,
TaiYuan, YinZe District                                                        Fax +57-1-4292 964
                                      No.88,Western Section of South
030012, P.R.China
                                      2nd Ring Road,Xi'an China
TEL: 86 351 7925141                                                            Congo * Brazzaville
                                      Tel: +86 29 88360510
FAX: 863517925143                                                              DHL Global Forwrading Congo C/O Dhl
                                      Fax: +86 29 88360496
                                                                               International Congo Sarl
                                                                               Avenue Foch, Immeuble Bcc
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Bp 616, Brazzaville                                                              EE-11415 Tallinn Estonia
Tel: +242-81-23.27                      Denmark * Aalborg                        Tel. +372-6-652 555
Tel/Fax : +242-81-01.03                 DHL Global Forwarding Denmark A/S        Fax +372-6-652 566
Office e-mail: dgfcsv.cg@dhl.com        Mineralvej 29 A
                                        DK-9220 Aalborg                          Fiji * Nadi
Congo * Kinshasa                        Tel. +45 3690 5200                       DHL Global Forwarding (Fiji) Pty
DHL International Congo Sprl            Fax +45 3690 5250                        Ltd, Office 113 AFL Cargo BLDG
Avenue De La Science, 46                                                         P.O. BOX 10157, Nadi Airport
Commune De La Gombe                     Denmark * Copenhagen                     Tel. +679 6 720 538
Kinshasa / Drc                          DHL Global Forwarding Denmark A/S        Fax +679 6 720 484
Tel: +243 81 715 0304                   Kirstinehoj 42
                                        DK-2770 Kastrup                          France * Bordeaux (Air Freight)
Congo * Pointe Noire                    Tel. +45 3690 5500                       DHL Global Forwarding (France)SAS
DHL GLOBAL FORWARDING                   Fax +45 3252 8501                        Cidex B 17, Aérogare de fret
CONGO                                                                            33700 Mérignac Aéroport
6, BOULEVARD DE LOANGO                  Denmark * Odense                         Tel. +33-5-5613 8484
BP 648 POINTE-NOIRE                     DHL Global Forwarding (Denmark) A/S      Fax +33-5-5613 8489
Office e-mail: dgfcsv.cg@dhl.com        Agerhatten 27A, Indg. 3
                                        DK-5220 Odense SO                        France * Lille (Air Freight)
Costa Rica * San Jose                   Denmark                                  DHL Global Forwarding (France)SAS,
DHL (Costa Rica) Sociedad Anònima.                                               Aérogare de fret
Urbanizacion Tourmon                    Ecuador * Quito-Guayaquil                59817 Lesquin
Contiguo a Banco Bisca                  DHL Danzas Air & Ocean (Ecuador)         Tel. +33-3-2087 4455
Edificio Cormar                         S.A.                                     Fax +33-3-2087 4450
Tel. + 506-257 6969 336/362/            Avenida De Las Americas Y Eugenio
Fax + 506-257 2998                      Almazan, Edificio Mecanos, Planta Baja   France * Lyon (Air Freight)
                                        Tel. +593-42 282036                      DHL Global Forwarding (France)SAS,
Croatia                                 Fax +593-42 282036                       Airport de Lyon St. Exupery Cargoport
DHL International D.O.O                                                          69125 Lyon St Exupery
DHL Global Forwarding                   Ecuador * Quito                          Tel. +33-4-72483434
contact R. Beusch, Danzas Buchs         DHL Global Forwarding (Ecuador) S.A.     Fax +33-4-72483415
Tel. +41-81-75 51 315                   Antonio Navarro N32-66 y FCO.
Fax +41-81-75 51 402                    Andrade Marin                            France * Marseille (Air Freight)
                                        Quito, Ecuador                           DHL Global Forwarding (France)SAS,
Czech Republic * Ostrava                Tel. +593-42 282036                      Aéroport de Marseille Provence
DHL Logistics (Czech Republic) s.r.o.   Fax +593-42 282036                       Aérogare de fret no 3
Danzas Air & Ocean                                                               13728 Marignane Aéroport
Intl. Airport Ostrawa / OSR             Egypt * Alexandria                       Tel. +33-4-42467211
74251 Mosnov, Czech Republic            DHL Global Forwarding                    Fax +33-4-42467220
Tel. +420-597 471 183                   19, El Pharaana Street
Fax +420-597 471 184                    Alexandria                               France * Mulhouse (Air Freight)
                                        Tel. +20-3-4873603                       DHL Global Forwarding (France)SAS,
Czech Republic * Praha                  Fax +20-3-4788981                        Aéroport de Bâle/Mulhouse
DHL Logistics (Czech Republic) s.r.o.                                            Halle de fret , 68221 Hegenheim Cedex
Veronské n´m. 403                       Egypt * Cairo (Head Office)              Tel. +33-3-8990 2220
CS-109 00 Praha 15 – H. Mécholupy       DHL Global Forwarding                    Fax +33-3-8990 2222
Tel. +420-2201 1325 7                   36, Delivrande Street
Fax +420-2201 1457 4                    Heliopolis, Cairo 11341                  France * Nantes
                                        Tel. +20-2-2907 838/39-44                DHL Global Forwarding (France)SAS,
Czech Republic * Praha (Air Freight)    Fax+20-2-2910 616                        Aéroport de Nantes Atlantique Aérogare
DHL Logistics (Czech Republic) s.r.o.                                            de fret
DHL Danzas Air & Ocean                  Egypt * Cairo                            44860 Saint Aignan de Grand-lieu
Aviatická 12/1048, Airport Ruzyne       DHL Global Forwarding                    Tel. +33-2-5170 8050
CS-160 08 Praha 6                       Cargo Village, Exporters Bldg            Fax +33-2-5170 8049
Tel. +420-2-221012                      Cairo Intl Airport
                                        Tel. +20-2-4141 871/2/3                  France * Nice (Air Freight)
Czech Republic * Praha (Ocean )         Fax +20-2-4172 527                       DHL Global Forwarding (France)SAS,
DHL Logistics (Czech Republic) s.r.o.                                            Aéroport de Nice Côte d’Azur Aérogare
Pod Visnovkou 25/1661,CS-140 00         Estonia * Tallinn                        de fret
Praha 4-krc                             DHL Estonia AS                           06281 Nice Cedex 3
Tel. +420-2-4746 804                    Kesk-Sõjamäe 10 A                        Tel. +33-4-9321 4555
Fax +420-2-4746 811
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Fax +33-4-9321 4081                     40880 Ratingen
                                        Tel. +49-2102 4806-0                  Germany * Mannheim (AFR)
France * Paris (Air Freight)            Fax +49-2102 4806-350                 DHL Global Forwarding GmbH
DHL Global Forwarding (France)SAS                                             Rhenaniastrasse 68-70
14, Rue De La Belle Borne               Germany*Dresden                       68199 Mannheim
Sogaris 6-Fret-5-Aeroport CDG           DHL Global Forwarding GmbH            Tel. +49-621-8442-0
93290 Tremblay En France                Building 133.02                       Fax +49-621-8442 197
Tel. +33-1-4975 1912                    Wilhelmine-Reichard-Ring 3
Fax +33-1-4975 1903                     01109 Dresden                         Germany * München (AFR)
                                        Germany                               DHL Global Forwarding GmbH
France * Strasbourg (Air Freight)       Tel: +49 (0) 0351 881 4300            Südallee, Frachtgebäude Modul F
DHL Global Forwarding (France)SAS       Fax: +49 (0) 0351 881 4302            4th Floor
Zone D’Activite Ouest                                                         85356 München -Airport
Batiment Saint Exupery, Entzheim        Germany * Frankfurt (Head Office)     Tel. +49-89-97594000
67842 Tanneries Cedex                   DHL Global Forwarding GmbH            Fax +49-89-97594006
Tel. +33-3-88599270                     Airport Frankfurt, CCS Building 573
Fax +33-3-88689854                      60549 Frankfurt                       Germany * Nürnberg (AFR)
                                        Tel. +49-69 1301-6                    DHL Global Forwarding GmbH
France * Toulouse (Air Freight)         Fax +49-69 1301-799                   Flughafenstasse 86
DHL Global Forwarding (France)SAS                                             90411 Nuernberg
Aéroport de Blagnac, Aérogare de fret   Germany * Freiburg (AFR)              Tel. +49-911-935566
31703 Blagnac                           DHL Global Forwarding GmbH            Fax +49-911-9355677
Tel. +33-5-6116 4100                    Breisgauallee 10
Fax +33-5-6130 0126                     79336 Herbolzheim                     Germany * Paderborn (AFR)
                                        Tel. +49-7643/9323-10                 DHL Global Forwarding GmbH
Gabon * Libreville                      Fax +49-7643/9323-59                  Flughafen Paderborn/Lippstadt
DHL International Gabon S.A.                                                  Halle 2
Rue Victor Schoelche                    Germany * Friedrichshafen (AFR)       33142 Bueren-Ahden
BP 6113 LIBREVILLE                      DHL Global Forwarding GmbH            Tel. +49-2955-7444-0
Tel : 241 – 721270                      Flughafen Loewenthal Geb. 84          Fax +49-2955-7444 47
Fax 241 - 746885                        88046 Friedrichshafen
                                        Tel. +49-7541-9219-0                  Germany * Saarbrücken (AFR)
Germany * Aachen (AFR)                  Fax +49-7541-9219-59                  DHL Global Forwarding GmbH
DHL Global Forwarding GmbH                                                    Dudweilerlandstrasse
De-Gasperi-Strasse, 52146 Würselen      Germany * Hagen (AFR)                 66123 Saarbrücken
Tel. +49-2405-630                       DHL Global Forwarding GmbH            Tel. +49-681-9372-110
Fax +49-2405-63457                      Haus Busch 4                          Fax +49-681-9372 190
                                        58099 Hagen
Germany * Berlin (AFR)                  Tel. +49-2331-694 200                 Germany * Stuttgart (AFR)
DHL Global Forwarding GmbH GmbH,        Fax +49-2331-6942 227                 DHL Global Forwarding GmbH
Flughafen Tegel,                                                              Kraichgaustrasse 6
Frachtgebäude, Raum H 103               Germany * Hamburg (AFR)               73765 Neuhausen a.d.f
13405 Berlin                            DHL Global Forwarding GmbH            Tel. +49-7158 9034 0
Tel. +49-30-4100 03-30/ -40             Obenhauptstr. 9                       Fax +49-7158 9034 139
Fax +49-30-4100 03-33                   22115 Hamburg
                                        Tel. +49-40 50023321                  Ghana * Accra
Germany * Bremen                        Fax +49-40 50023329                   DHL Global Forwarding
DHL Global Forwarding GmbH                                                    53, Patrice Lumumba Road
Flughafenallee 15, D-28199 Bremen       Germany * Hannover (AFR)              Airport Res. Area
Tel. +49-421-3041-0                     DHL Global Forwarding GmbH            Accra,
Fax +49-421-3041-250                    Grovestrasse 14-18                    GHANA
                                        30853 Langenhagen                     Tel: +23321742444 or 21766156-7
Germany * Dortmund (AFR)                Tel. +49-511-973 97-0                 Fax: +2332176161 or 021774798
DHL Global Forwarding GmbH              Fax +49-511-973 97-90
Haus Busch Nr. 4                                                              Greece * Athens (Air Freight)
58099 Hagen                             Germany * Leipzig (AFR)               DHL Global Forwarding Hellas A.E.
Tel. +49-2331-694 200                   DHL Global Forwarding GmbH            building no 27, 3rd floor, office 508
Fax +49-2331-6942 227                   Flughafen leipzig –Halle              5th km Spata-Loutsa Ave 190 19 Spata,
                                        Industriestrasse 56                   Athens
Germany * Düsseldorf (AFR)              04435 Schkeuditz                      Tel. +30-210-354 2001
DHL Global Forwarding GmbH              Tel. +49-3412242530/2531              Fax +30-210-354 2301
Gothaerstrasse 20                       Fax +49-3412242532
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Greece * Athens (Ocean Freight)                                              LCL (OPS) Destination Terminal at
DHL Global Forwarding Hellas A.E.     Iceland * Reykjavik                    Delhi
Hadjikiriakou Ave 15/17               DHL Iceland                            DHL Lemuir Logistics P Ltd
Pyraeus 185 35                        Skútuvogur 1E                          219 A , Concor Building,
Tel. +30-210-453 1176                 104 Reykjavik, Iceland                 Container Corporation of India.
Fax +30-210-453 1491                  Tel. (354) 535-1100                    New Delhi
                                      Fax (354) 535-1111                     India
Greece * Thessaloniki                                                         Tel: +91 11 26364051
DHL Global Forwarding Hellas A.E.     India * Bangalore                      Fax: +91 11 26362050
DHL Global Fiorwarding                DHL Danzas Lemuir Private Limited
51 Politechniou Str                   No 38, SNS Arcade                      India Kolkata (formely Calcutta)
54625 Thessalokini                    Airport Road, halkonena Agrahara       DHL Danzas Lemuir Private Ltd
Tel. +30-2310 556001                  Vimanpura Post, Bangalore 560017       26, Shakespeare Sarani
Fax +30-2310 556003                   Tel. +91-XX-XXXXXXX / 2212             Kolkatta – 700 017
                                      Fax +91-XX-XXXXXXX                     Tel. +91 33 22474326
Guatemala * Guatemala City                                                   Fax+91 33 2240 0369
DHL Global Forwarding (Guatemala),    India * Chennai (Air Freight)
Sociedad Anonima                      DHL Lemuir Logistics Private Limited   India * Mumbai (Head Office)
46 Calle 24-30, Zona 12 Ciudad de     C/O DHL Express India Pvt Ltd          DHL Danzas Lemuir Private Ltd
Guatemala                             1St floor, Courier Terminal            602 Prime Corporate Park
Tel. +502-2470 0999                   OLD INTERNATIONAL AIRPORT              Sahar Road
Fax +502-2477 5753                    Meenambakkam                           Andheri (East) Mumbai 400 059
                                      Chennai 600 027                        Tel. +0091 22 66786868
Guinea * Conakry                      Tel: +91 44 22569400                   Fax +0091 22 66786820
DHL International Guinée              Fax: +91 44 22569494
Immeuble Mamou, Avenue du Port. Ex                                           Indonesia * Balikpapan
Cite du Chemin de Fer                 India * Chennai (Ocean Freight)        DHL Global Forwarding Balikpapan
Kaloum -Comakry                       DHL Danzas Lemuir Private Limited      Balikpapan Super Block
Tel. +224-412755                      Lemuir House                           Jl. Jendral Sudirman,
Fax +224-412753                       125, G.N. Chetty Road                  Block F NO. 27
                                      T. Nagar, Chennai 600017               Balikpapan 76114
Haiti * Port-au-Prince                Tel.+91 44 28269604                    Indonesia
DHL International Haiti SA            Fax+91 44 28269209                     Tel: +62 0542 7020084
17 Angles Route Aeroport
Et Rue Jean Gilles Port-au-Prince     India * Coimbatore                     Indonesia * Jakarta (Head Office)
Tel. +509-250 9400                    DHL LEMUIR LOGISTICS PVT.LTD           DHL Global Forwarding
Fax +509-250 9410                     C/o: DHL Express India Pvt. Ltd        Indonesia (Limited Company) Indonesia,
                                      731 B & C, Avinashi Road               Soewarna Business Park
Honduras * San Pedro Sula             Near to “G.D.Naidu Hall”               Blok A – Lot 8
DHL (Honduras) S.A DE C.V             Coimbatore - 641 018                   Soekarno-Hatta International Airport
Km 7 Carret. Al aeropuerto            India                                  RI-Jakarta 19110
Complejo Calpules Bodega 5            Tel: +91 422 4393335 / +91 422         Tel. +62-21-5591 3161/62
San Pedro Sula                        2222095                                Fax +62 21 5591 2927/28 (Airfreight)
Tel. + 504-559-8855                   Fax: +91 422 2221118                   Fax +62 21 5591 3158-/59 (Seafreight)
Fax + 502-559 6587
                                      India Delhi (Air Freight)              Indonesia * Surabaya
Hong Kong * Hong Kong                 DHL Danzas Lemuir Private Limited      DHL Global Forwarding
DHL Global Forwarding (Hong Kong)     E-9, Cannought place, New Delhi        Indonesia (Limited Company)
L25, Tower 1, Kowloon Commerce        -110001                                Saranaperkasa
Centre                                Tel. +91 11 26553899                   Komplek Ruko Permata Juanda
51 Kwai Cheong Road                   Fax +91 11 25654009                    West Wing Superlok # A 9-10
Kwai Chung, New Territories                                                  Jl. Raya Juanda, Surabaya 62154
Hong Kong                             India Delhi (Ocean Freight)            Tel. +62-31-866 6535
Main Switch Tel: +852 2218-6888       DHL Lemuir Logistics Pvt. Ltd.,        Fax +62-31-866 7824
Main Fax: +852 2218-6388              C/O CMA-CGM LOGISTICS PARK
                                      DADRI PVT. LTD. (CCLP, Dadri)          Iraq * Basra (Head Office)
Hungary (AFR/OFR)                     Tilpata Road, Gautam Buddh Nagar,      Air & Ocean General Transport
DHL Global Forwarding Hungary Ltd.    Greater Noida UP 201 311               Forwarding & Customs Clearance
Lorinci út 59.2220, Vecsés, Hungary   Tel: + 91 124 4518827                  (DHL Global Forwarding Iraq)
Tel: +36 29 556000                    Fax: +91 124 4518850.                  Street # 301, Building #8
Fax: +36 29 556 029                                                          Mnawi Basha
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Tel. +9647706415757                                                            DHL Global Forwarding Japan K.K. -
                                       Italy * Firenze                         Haneda Airport office
Iraq * Um-Qaser (Ocean Freight only)   DHL Global Forwarding (Italy) S.p.A..   Room 210 A,
Air & Ocean General Transport          Via Provinciale Lucchese 181/7          No 1 Intl Cargo Bldg,
Forwarding & Customs Clearance         50199 Sesto Fiorentino (Firenze) I      2-6-3 Haneda-kuko, Ohta-ku,
 (DHL Global Forwarding Iraq)          Tel.+39-055 23861                       Tokyo 144-0041
Um-Qaser Port North Terminal           Fax+39-055 341051                       Japan
Building #1                                                                    Tel: 81 3 5708 7921
Office #5                              Italy * Gatteo                          Fax: 81 3 5708 7945
Tel. +9647706415757                    DHL Global Forwarding (Italy) S.p.A.
                                       Via Erbosa, 3/A                         Japan * Kyoto
Iraq * Baghdad                         47030 Gatteo (FO)                       DHL Global Forwarding Japan K.K.
Air & Ocean General Transport          Tel. +39 0541 804611                    Kyoto Branch
Forwarding & Customs Clearance         Fax. +39 0541 804154                    8F West Tower, Arbanex Oike Bldg.
(DHL Global Forwarding Iraq)                                                   358 Umeya machi, Nakagyo-ku,
Baghdad International Airport          Italy * Milano                          Kyoto 604-8186
Cargo Village                          DHL Global Forwarding (Italy) S.p.A.    Japan.
Starlight Airline Office               via Marconi, 6                          Tel: +81 (0) 75 222 8765
Tel. +9647902170960                    20060 Liscate -MI-ITALY                 Fax: +81 (0) 75 212 3890
                                       Tel. +39 02 95252 1
Ireland * Cork                         Fax +39 02 95252407                     Japan * Nagoya
DHL Global Forwarding (Ireland) Ltd                                            DHL Global Forwarding Japan K.K.
Unit 3021 Euro Business Park           Italy * Napoli                          Nagoya Branch
Little Island                          DHL Global Forwarding (Italy) S.p.A.    Room 602 Ie-Marunouchi Building
Cork                                   Via San Salvatore 32                    1-15-20 Marunouchi Naka-ku
Republic of Ireland                    80026 Casoria (Napoli) I                Nagoya-shi Aichi
Tel. +353-XX-XXXXXXX                   Tel. +39-081 7720 111                   460-0002
Fax +353-XX-XXXXXXX                    Fax +39-081 7720 223                    Japan
                                                                               Tel. +81-52-222 7461
Ireland * Dublin (Air/Ocean )          Italy * Roma                            Fax +81-52-222 7460
DHL Global Forwarding (Ireland) Ltd    DHL Global Forwarding (Italy) S.p.A.
Furry Park , Santry, Dublin 9          Interporto Roma-Fiumicino               Japan * Osaka
Tel. +353-1-8161 000                   Via Corona Boreale snc                  DHL Global Forwarding Japan K.K
Fax +353-1-8161 094                    00054 Fiumicino (RM)                    Osaka Branch
                                       Italy                                   Ueyama Bldg. 4F 1-3, Minami-Senba 2-
Ireland * Shannon (Air/Ocean)          Tel: +39 06 6504 311                    chome, Chuo-ku, Osaka 542-0081
DHL Global Forwarding (Ireland) Ltd    Fax +39 06 6504 7383                    Tel.: +81-6-6271-1017 (OFR)
Beech Park, Smithstown                                                         Tel.: +81-6-6271-1018 (AFR)
Shannon, Co. Clare                     Italy * Torino                          Fax +81-6-6271-1152
Tel. +353-61-365 500                   DHL Global Forwarding (Italy) S.p.A.
Fax +353-61-365 510                    Strada del Francese 152/8               Japan * Tokyo-Narita (AFR/APT)
                                       10156 Torino                            DHL Global Forwarding Japan K.K.
Italy * Bergamo                        Tel. +39-011-4518411                    Narita Cargo Center
DHL Global Forwarding (Italy) S.p.A.   Fax +39-011-4518445                     2313-4 Iwayama, Shibayama-Machi
Via Cascina Portichetto 1                                                      Sanbu-Gun, Chiba 289-1608
24052 Azzano S. Paolo- Bergamo         Italy * Vicenza                         Tel. +81-479-78 6311
Tel.+0039-035 2056621                  DHL Global Forwarding (Italy) S.p.A.    Fax +81- 479-78 6310
Fax+0039-035 2056610                   Via Divisione Folgore, 44
                                       36100 Vizenza (VI) Italy                Japan * Tokyo- (HeadOffice,/Ocean)
Italy * Bologna                        Tel. +39-0444 933811                    DHL Global Forwarding Japan K.K
DHL Global Forwarding (Italy) S.p.A.   Fax +39-0444 933890                     Riverside Sumida Central Tower 12F
Înterporto –Blocco 6/2                                                         1-19-9 Tsutsumi-dori
40010 Bologna                          Japan * Fukuoka                         Sumida-ku Tokyo 131-0034
Tel.+39-051 665801                     DHL Global Forwarding Japan K.K         Tel. +81-3-5632 8218
Fax+39-051 6658180                     No. 409 Fukuoka Airport Int’l Cargo     Fax +81-3-5632 8219
                                       Bldg. 535 Oaza-Kamiusui, Hakata-ku
Italy * Campogalliano                  Fukuoka 812-0005 Japan                  Jordan * Amman
DHL Global Forwarding (Italy) S.p.A.   Tel : 092-473-5461                     DHL Danzas Air & Ocean Jordan
Piazzale delle Nazioni, 92             Fax: 092-473-5463                       PO Box 910603,
41011 Campogalliano (MO)                                                       Peace Bldg.-Jabal Lweibdeh
Tel. +39 059 852911                    Japan*Haneda                            11191 Amman Jordan
Fax +39 059 852946                                                             Tel. +962-6-462 1808
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Fax +962-6-465 2842                    490 Harbor Drive                       Fax +60-05-527 8352
                                       Saifi - Beirut (Lebanon)
Kazakhstan *Almaty                     Tel. +961-1 564 789                    Malaysia * Johor Bahru
DHL Logistics (Kazakhstan) LLP         Fax +961-1 564 793                     DHL Global Forwarding (Malaysia) Sdn
Manasa Street 32A                                                             Bhd
050008 Almaty, Kazakhstan              Lesotho, Maseru                        Suite 18-01, Level 18
Tel. +7 327 311 2432                   DHL Lesotho (Pty) Ltd                  Menara Sarawak
Fax +7 327 311 2433                    1st Floor, Options Building            No.5, Jalan Bukit Meldrum
                                       Pioneer Road, Maseru, Lesotho          80300 Johor Bahru, Johor
Kenya * Nairobi                        Tel. +266 22 311082                    Tel. +60-7-227 6633
DHL Global forwarding Kenya Ltd        Fax +266 22 310405                     Fax +60-7-227 4475/76
P.O. Box 67577
00200 NAIROBI                          Lithuania * Vilnius                    Malaysia * Kuala Lumpur
Tel : 254 20 6925800                   DHL Lietuva UAB                        DHL Global Forwarding (Malaysia) Sdn
Fax . 254 20 536673                    Dariaus Ir Gireno 40                   Bhd
                                       LT-02189 Vilnius, Lithuania            Level 27 Menara TM
Korea *Incheon                         Tel. +370-5-2360752                    Off Jalan Pantai Baharu
DGF Korea Incheon Cargo Center (ICC)   Fax +370-5-2167711                     50672 Kuala Lumpur
124, 295 Beon-gil.                                                            Tel. +03-22418000
Gonghangdong-ro Jung-gu                Luxembourgh * Luxembourgh              Fax +03-22412858
Incheon                                DHL Global Forwarding (Luxembourgh)
Korea South 40-717                     SA                                     Malaysia * Kuching
Tel. +82 32 744 0113                   Room F 2036-F2039 Cargo Centre         DHL Global Forwarding (Malaysia) Sdn
                                       1360 Luxembourg Airport                Bhd
Korea * Pusan                          Tel. +352-34640 9450                   2nd Flr, Lot 1326 & 1327, Section 66,
DHL Global Forwarding (Korea) Ltd      Fax +352-34640 9457                    KTLD Jalan Utama,
Suite 103, Kyeonbo Building                                                   93450 Kuching, Sarawak
74-1, 4-ka, Choongang-dong,            Madagascar*Antananarivo                Tel. +60-82-339 992
Chung-ku, Pusan Korea South 600-014    DHL International (Madagascar) SARL    Fax +60-82-331 112
Tel. +82-51-603 1500                   Lot II J181 F Bis, Ivandry
Fax +82-51-442 5343/4 (Ocean)          Antananarivo, Republic of Madagascar   Malaysia * Melaka
     +82-51-464 2993 (Air)             Tel. +261-2022 63783                   DHL Global Forwarding (Malaysia) Sdn
                                       Fax +261-2022 63819                    Bhd
Korea * Seoul_(Head Office)                                                   239, Ground Floor
DHL Global Forwarding (Korea) Ltd      Malaysia * Butterworth                 Taman Melaka Raya
12th floor, Irae Bldg                  DHL Global Forwarding (Malaysia) Sdn   75000 Melaka
2 Yangpyeong-dong 4-ga                 Bhd                                    Tel. +60-6-282 5591
Yeongdeungpo-gu,                       Suite 1A, Level 12A,NB Tower           Fax +60-6-284 4584
Seoul. Sout Korea                      5050 Jalan Bagan Luar
150-967                                12000 Butterworth, Penang              Malaysia * Penang
Tel. +82-2-2600-5500                   Tel. +60-04-331 1785/1623              DHL Global Forwarding (Malaysia) Sdn
Fax +82-2-2690-4296                    Fax +60-04-324 3096                    Bhd
                                                                              Plot 66, Non Free Trade Zone
Kuwait * Kuwait                        Malaysia * HQ                          Bayan Lepas Industrial Estate
DHL Global Forwarding Co. WLL          DHL Global Forwarding (Malaysia) Sdn   11900 Bayan Lepas Penang
PO Box 2358 Safat                      Bhd                                    Tel. +60-4-643 2301
13024 Kuwait                           No. 2, Jalan PPU 1                     Fax +60-4-643 7770/642 7254
Tel: +965 243 46300                    Batu 12 ½, Off Jalan Puchong           Fax +60-4-644 4488
Fax: +965 243 46335                    Taman Perindustrian Puchong
                                       Utama, 47100 Puchong                   Malaysia * Port Klang
Latvia * Riga                          Selangor Darul Ehsan                   DHL Global Forwarding (Malaysia) Sdn
DHL Latvia SIA                         Tel. +60-03-8064 3888                  Bhd
Plienciema Street 35,                  Fax +60-03-8064 3990                   Lot 2-6 & 2-7, 2nd Floor
Marupe, Marupe Region,                                                        Amcorp Logistics Centre
LV-2167, Latvia                        Malaysia * Ipoh                        No.1, Jalan Gerudi
Tel. +371-7-207 314                    DHL Global Forwarding (Malaysia) Sdn   Off Jalan Pelabuhan Utara,
Fax +371-7-207 714                     Bhd                                    Port Klang,42000 Port Klang,
                                       72 Persiaran Silibin Utara             Tel. +60-3-3165 6633
Lebanon * Beirut (Head Office)         Jalan Jelapang                         Fax +60-3-3165 9988/3165 9898
DHL Global Forwarding S.A.L.           30020 Ipoh, Perak
P.O.BOX 175772                         Tel. +60-05-527 8346                   Mauritania * Nouakchott
                                                                              DHL International (Mauritania)Ltd
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Tewragh-Zeina-Ilot-A 652              Prestwickweg 1                        Nigeria * Ikeja, Lagos
Avenue Charles de Gaulle              1118 ZG Schiphol Airport              DHL International Nigeria Ltd.
PO Box 1996 Nouakchott                Tel. +31-XX-XXXXXXX                   Oregun Business Park
Tel.+ 222-525 4706                     Fax +31-XX-XXXXXXX (Export)          2, Billingsway
Fax +222-525 5694                                                           Oregun, Ikeja, Lagos
                                      Netherlands * Rotterdam (Ocean )      Tel. +234 803 5350871
Martinique * Fort de France           DHL Global Forwarding                 Fax+234 1 4931094
DZ France /Pompiere S.A.              Ridderhaven 5, 2984 BT
Z.I. La Jambette                      P.O.Box 4111 , 2984 GC Ridderkerk     Norway Oslo_(Head Office)
BP 90                                 Tel. +31-180-485 888                  DHL Global Forwarding
97256 Port de France                  Fax +31-180-485 855                   Henrik Ibsens vei,
Tel. +596-505 161                                                           P.O. Box C,
Fax +596-500 802                      Netherlands (The) * Rotterdam         NO - 2061 Gardermoen
                                      DHL Global Forwarding                 Tel. +47-64-82 1550
Mauritius * Port Louis (AFR)          Kiotoweg 160, 3047 BG Rotterdam       Fax +47-64-82 1555
DHL (Mauritius) Ltd                   3004 GA Rotterdam
Freight Forwarding Center             Tel. +31-10 4885588                   Pakistan*Karachi
Plaine Magnien                        Fax +31-10 4376551                    DHL Global Forwarding Pakistan (Pvt.)
Mauritius                                                                   Ltd
Tel. +230-637 7221                    New Zealand * Auckland                187/1/E, Block 2, PECHS.,
Fax +230 637 7046                     DHL Global Forwarding                 Shahrah-e-Qaideen,
                                      (New Zealand) Ltd                     Karachi-75400
Mauritius * Port Louis (OFR)          PO Box 73107                          Pakistan
DHL (Mauritius) Ltd                   8 Verissimo Drive                     Tel. +92 21 4315041-5
Cnr.Mgr.Gonin & Sir Virgile Naz       Westney Industry Park                 Fax. +92 21 4315046 – 4533300
Streets, P.O.1077 – Port Louis        Mangere
Mauritius                             Auckland 2022,                        Pakistan*Lahore
Tel. +230-208 7967                    New Zealand                           DHL Global Forwarding
Fax +230-213 4046                     Main Tel: +64 9 977 4777              Exel Pakistan Pvt Ltd
                                                                            3-Canal Park, Gulberg II,
Mexico * México (Head Office)         New Zealand * Christchurch            Lahore
DHL Global Forwarding                 DHL Global Forwarding                 Tel. +92 42 587 2765 – 72
(Mexico)S.A.de c.v                    (New Zealand) Ltd                     Fax. +92 42 575 4461-62
Asistencia Publica 596                Cnr Ron Guthrie & Bolt Drive
Col. Federal                          P.O.Box 14033 Christchurch Airport    Pakistan*Islamabad
15700 Mexico, D.F                     Tel. +64-3-940 4044                   DHL Global Forwarding
Tel. +52-55 5133 1700                 Fax +64-3-940 4045                    Exel Pakistan Pvt Ltd
Fax +52-55 5133 1701                                                        H # 189, St # 10, Chaklala Scheme III
                                      New Zealand * Napier                  Rawalpindi Cantt, Pakistan
Mongolia                              DHL Global Forwarding                 Tel. +92 51 5952844-45
DHL International (Mongolia) Ltd      (New Zealand) Ltd                     Fax. +92 51 5952846
DHL House, Peace Ave, 15-A            Unit 4, 105 Ford Road, Onekawa
Tel. +32-2-752 0480                   P.O.Box 1011, Napier                  Pakistan*Sialkot
Fax +32-2-752 0481                    Tel. +64-6-833 7562                   DHL Global Forwarding
                                      Fax +64-6-833 5619                    Exel Pakistan Pvt Ltd
Mozambigue * Maputo                                                         Shaukat Heights
DHL Global Forwarding                 New Zealand*Palmerston North          Shahab Road, Sialkot
Ave 25 De Setembro                    DHL Global Forwarding                 Tel. +92 52 3555704
1622 Maputo                           (New Zealand) Ltd                     Fax. +92 52 3563759
Tel. +258-21 307290                   15 Bennett Street. Palmerston North
Fax +258-21 306698                    Tel. +64 6 355 3366                   Panama*Panama City
                                      Fax +64 6 353 3900                    DHL Global Forwarding Panama, S.A.
Namibia * Windhoek                                                          Centro Comercial Bel Air
DHL Global Forwarding                 New Zealand * Wellington              Office 6 and 7, Via Ricardo J Alfaro
Cnr Kelvin & Dalton Street            DHL Global Forwarding                 Panama City
Souhern Industrial Area               (New Zealand) Ltd                     Tel. +507-271 3400
Windhoek, Namibia                     Cnr Stewart Duff & Freight Drives     Fax +507-271 3485
Tel. +264-61 223161                   Wellington Airport
Fax +264-61-236614                    Tel. +64-4-924 9444                   Papua New Guin. * Port Moresby
                                      Fax +64-4-924 9445                    DHL Global Forwarding (Papua New
Netherlands * Amsterdam (Air)                                               Guinea) PTY Ltd
DHL Global Forwarding                                                       PO Box 3883
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Aircorps Road, Lae, Morobe Province      4470-573 Moreira Maia                   Tel. +7-812-346 7410
Tel. +675-472 4377                       Tel. +XXX-XX-XXXX 645                   Fax +7-812-346 7413
Fax +675-472 7097                        Fax. +XXX-XX-XXXX 644
                                                                                 Senegal * Dakar
Peru Lima (Air Freight)                  Puerto Rico*San Juan                    DHL Global Forwarding SA
DHL Global Forwarding Peru S.A.          DHL Global Forwarding                   BP: 16840 Dakar
Victor Maurtua, 153 San Isidro           Calle 4 Ruedas                          KM 3,5 Boulevard du Centenaire
Lima 27                                  Lote 2-5B                               de la Commune de Dakar
Tel. +51-1-4401 936/ 4217 225            Sabana Garden Industrial Park           SENEGAL
Fax +51-1- 4409 893                      Carolina, 00987, Puerto Rico            Tel. +221 33 859 09 00/33 859 08 08
                                         Tel: +1 787 769 5151                    Fax. +221 33 832 66 67
Peru Lima (Air and Ocean Freight)        Fax: +1 787 750 3570
DHL Global Forwarding Peru S.A.                                                  Singapore * Singapore (OFR)
Centro Aéreo Comercial                   Qatar*Doha                              DHL Global Forwarding (Singapore) Pte
Ofic. 111 Av. Elmer Faucett s/n Callao   DHL Global Forwarding                   Ltd
Tel.+51-1-5741 330                       P.O. Box 22466,                         No1 Changi South Street 2
Fax +51-1-5743 197                       Abdullah Al-Kawari Bldg Ground Floor,   DHL Distribution Centre
                                         Office No 1                             Singapore 486760
Philippines * Manila                     C-Ring Road, Al Muntazah                Tel. +65427668
DHL Global Forwarding (Phils.) Inc       Doha, Qatar                             Fax+ 65428316
8/F Star Cruises Center                  Tel .+974 4410595
100 Andrews Avenue, Newport              or +974 4364938                         Singapore * Singapore (AFR)
Cybertourism Zone, Pasay City            Fax. +974 4328599                       DHL Global Forwarding (Singapore) Pte
Philippines 1309                                                                 Ltd, Airfreight Division
Tel: +63-2-902-3-DHL (345)               Réunion                                 81 ALPS Avenue
Fax: +63-2-902-7600                      DHL Global Forwarding                   Singapore 498803
                                         5, rue Velasquez                        Tel. +65-6318-6388
Poland * Lodz (Ocean Freight)            97420 Le Port                           Fax +65-6543-3059
DHL Global Forwarding Sp. z o.o.         Ile de la Reunion
Ul Dostawcza 17                          Tel. + 262 (0) 2 62 43 27 00            Slovakia * Bratislava
93-231 Lodz                              Fax + 262 (0) 2 62 43 22 39             DHL Logistics (Slovakia) s.r.o
Poland                                                                           Letisko M.R. Stefanika 65
                                         Romania * Bucharest                     SK-820 01 Bratislava 21
                                         DHL Logistics SRL                       Tel. +421 2 43426651 (Air)
Poland * Piaseczno (Ocean Freight)       Aurel Vlaicu 9, room 25                 Fax +421 2 43427864 (Air)
DHL Global Forwarding SP. Z O.O          Otopeni, Judetul Ilfov                  Tel. +421 2 43426649 (Ocean)
Ul.Jana Pawla II 66                      Henri Coanda-Bucuresti Intl Airport     Fax +421 2 43427864 (Ocean)
05-500 PIASECZNO                         Tel. +40 21 322 0215
Tel.+48-22-703 7500                      Fax +40 21 308 3083                     South Africa * Cape Town
Fax+48-22-606 8502                                                               DHL Global Forwarding SA (PTY) Ltd
                                         Russia * Moscow                         Unit 1, Gateway Park
Poland * Warszawa (Air Freight)          DHL Logistics LLC                       Munich Street, Airport Industria II
DHL Global Forwarding SP. Z O.O          DHL Freight                             Cape Town International Airport 7525
Air Cargo Terminal                       Ul. Leningradskaya, vladenie 39,        Republic of South Africa
UL. Wirazowa 35                          stroenie 5,                             Tel. +27-21 380 3800
02-158 Warszawa                          141400 Khimki, Moscow region            Fax +27-21 380 3802/3
Tel. +48-22-606 8105                     Russia
Fax +48-22-606 6105                      Tel. +7-495-933 22 00                   South Africa * Durban
                                         Fax +7-495-933 22 02                    DHL Global Forwarding SA (PTY) Ltd
Portugal * Lisboa                                                                20 Ebonyfield Avenue
DHL Global Forwarding Portugal LDA       Russia * Nizhniy Novgorod               Springfield Park, Durban
Aeroporto De Lisboa, Edificio 124        ZAO DHL International Marchala          Kwa-Zulu Natal 4051
2 – Gab 1A                               Kazakova Str. 3                         Tel. +27-31- 576 5200
1700-008 Lisboa                          603167 Nizhniy Novgorod                 Fax +27-31- 576 5230 (Air)
Tel. +351-XX-XXXXXXX                     Tel. +7-8312-431546                     Fax +27 31-576 5227 (Ocean)
Fax +351-XX-XXXXXXX                      Fax +7-8312-431564
                                                                                 South Africa * Johannesburg
Portugal * Porto                         Russia * St. Petersburg                 DHL Global Forwarding SA (PTY) Ltd
DHL Global Forwarding Portugal, Lda.     OOO DHL Logistics                       10 Patrick Road
Rua do Barreiro, 300,                    DHL Global Forwarding                   Jet Park, Boksburg 1459
Crestins                                 10 Serpukhovskaya Str                   Tel. +27-11-928 0400
                                         190013 St.Petersburg, Russia            Fax +27-11-928 0401
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                                          Plataforma Logistica de Zaragoza      Fax +46-60-579 415
Spain * Alicante                          (PLAZA) Bursao 8
DHL Global Forwarding Spain, S.L.U.       50197 Zaragoza                        Sweden * Värnamo
Elche Parque Industrial C/ Marie Curie,   Tel. +34 97 6288313                   DHL Global Forwarding (Sweden) AB
24 – 2izq                                 Fax +34-97 6288311                    P.O.Box 324
E-03320 Torrellano – Elche (Alicante)                                           Torpavägen 2, 331 23 Värnamo
Tel. +34 96 665 10 30 (Air)               Swaziland (Air Freight)               Tel. +46-0771-400 400
Fax +34 96 665 10 25                      DHL Swaziland (Pty) Ltd               Fax +46-370-400 77
                                          Shop 7, Karlyn Centre, Coopers Lane
Spain * Barcelona                         Mbabane, Swaziland, H100              Sweden * Örebro
DHL Global Forwarding Spain, S.L.U.       Tel. +268 40 45829/30/31              DHL Global Forwarding (Sweden) AB
Puerto Autónomo de Barcelona              Fax +268 40 45440                     P.O.Box 1343
(Zona Franca) Zona de Actividades                                               701 13 Örebro
Logísticas (Z.A.L.) c/Antartic, 12-20     Sweden * Gothenburg (air)             Tel. +46-0771-400 400
08040 Barcelona                           DHL Global Forwarding (Sweden) AB
Tel. +34-932 982 800                      P.O.Box 24072                         Switzerland * Basel (Air Freight)
Fax +34-932 232 023                       Molndalsvagen 30B                     DHL Logistics (Switzerland) LTD
                                          SE-400 22 Gothenburg, Sweden          4030 Basel-Flughafen
Spain * Las Palmas                        Tel. +46-0771-400 400                 Tel. +41-61-3253 201
DHL Global Forwarding Spain, S.L.U.       Fax +46-31-941 210                    Fax +41-61-3253 259
Polígono Industrial El Goro
Josefina Mayor, s/n                       Sweden * Gothenburg (Ocean)           Switzerland * Basel (Ocean Freight)
35219 Ctra. General del Sur Km. 17,5      DHL Global Forwarding (Sweden) AB     DHL Logistics (Switzerland) LTD
Las Palmas de Gran Canaria                P.O.Box 12131                         St. Jakobs-Strasse 222
Tel. +34-92-870 0160                      Fiskhamnsgatan 8 D                    PO 2664, 4002 Basel
Fax+34-92-870 0612                        402 42 Gothenburg                     Tel. +41-61 315 9191
                                          Tel. +31 799 4250                     Fax +41-61-313 9235
Spain * Madrid (Airport)                  Fax +31 142472
DHL Global Forwarding Spain, S.L.U.                                             Switzerland * Genève Airport
Centro de Carga Aérea, Parcela 2.3        Sweden * Jönköping-Axamo              DHL Logistics (Switzerland) LTD
Aeropuerto de Madrid – Barajas            DHL Global Forwarding (Sweden) AB     Cargo Building, P.O.Box 1090
28042 Madrid                              Jönköping Airport                     CH-1211 Geneva 5 Airport
Tel. +34 91 312 0300                      555 93 Jönköping                      Tel. +41-22-929 8511
Fax +34 91 312 0329                       Tel. +46-0771-400 400                 Fax +41-22-929 8580
                                          Fax +46-36-311 618
Spain * Santa Cruz de Tenerife                                                  Switzerland * St. Gallen
DHL Global Forwarding Spain, S.L.U.       Sweden * Malmö                        DHL Logistics (Switzerland)Ltd
Polígono Ind. Los Majuelos                DHL Global Forwarding (Sweden) AB     Altwinkelnstr 23
Avda. Rambla de la Libertad, s/n          P.O.Box 16036                         9015 St.Gallen
Autopista Santa Cruz-La Laguna            Cederströmsgatan 4, 200 25 Malmö      Switzerland
38108 Taco (Santa Cruz de Tenerife)       Tel. +46-0771-400 400
Tel. +34-92-231 0641                      Fax +46-40-182 217                    Switzerland * Zürich Airport
Fax +34-92-231 0576                                                             DHL Logistics (Switzerland) LTD
                                          Sweden * Norrköping                   Fracht West, 8058 Zürich Airport
Spain * Sevilla                           DHL Global Forwarding (Sweden) AB     Tel. +41-1-829 5252
DHL Global Forwarding Spain, S.L.U.       P.O.Box 153, Kommendantvägen          Fax +41-1-829 5600
Aeropuerto de Sevilla                     601 02 Norrköping
Terminal de carga, 41020 – Sevilla        Tel. +46-0771-400 400                 Taiwan * Kaohsiung
Tel. + 34 95 499 84 90                    Fax +46-11-104 065                    DHL Global Forwarding (Singapore) Pte
Fax +34 95 444 91 90                                                            LTD, Taiwan Branch
                                          Sweden * Stockholm                    Room-B, 16th Floor, Leaders Centre
Spain * Valencia                          DHL Global Forwarding (Sweden) AB     No. 29, Hai Pien Road Kaohsiung 802
DHL Global Forwarding Spain, S.L.U.       Söderbyvägen 3                        Tel. +886-7-336 6922
Avenida de Espioca-Via                    190 45 Stockholm-Arlanda              Fax +886-7-330 0610
Augusta, 64                               Tel. +46-(771)-400 400
E-46460 Silla (Valencia)                  Fax +46-8-5936 0600                   Taiwan * Taipei (Air / Ocean)
Tel. +34-96 121 92 00                                                           DHL Global Forwarding (Singapore) Pte
Fax +34-96 120 30 01                      Sweden * Sundsvall                    LTD
                                          DHL Global Forwarding (Sweden) AB     9-12 Fl, 120
Spain * Zaragoza                          P.O.Box 153                           Jian Guo N. Road 104,Taipei
DHL Global Forwarding Spain, S.L.U.       Midlanda Airport, 860 30 Sörberga
                                          Tel. +46-0771-400 400
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Tel. +886-2-2502 9999                    65026 Odessa                         Fax: +44 117 923 5400
Fax+886-2-2501 8285 (AirExport)          Ukraine
Fax+886-2-2501 8316 (OceanExport)        TEL: +380 48 7341134 ,7341133        United Kingdom * Coventry
                                                                              DHL Global Forwarding (UK) Ltd
Thailand * Bangkok                       United Arab Emirates * Abu Dhabi     Goodrem and Nicholson
DHL Global Forwarding (Thailand) Ltd.    Danzas Abu Dhabi LLC                 International Square Export House,
175, Sathorn City Tower, Floor 7/1 and   P.O.Box 27066                        Rowley Road
8/1 South Sathorn Road, Kwang            Abu Dhabi                            Starley Way Coventry CV3 4FR
Thungmahamek                             Tel. +971-2-4452 788                 Birmingham b37 7hb
Khet Sathorn, Bangkok 10120              Fax +971-2-4463 702                  Tel. 44-121-767 6000
Tel.: 66 2 345 5111                                                           Fax 44-121-782 4151
Fax 66 2 285 5509-10                     United Arab Emirates * Dubai
                                         (Air Freight)                        United Kingdom * Crawley (AFR)
Turkey Antalya                           Danzas AEI Inco Emirates LLC         DHL Global Forwarding (UK) Ltd
DHL Global Forwarding Tasımacılık        Dubai Cargo Village                  Newton Road
A.S                                      P.O. Box 2623                        Crawley, West Sussex, RH10 2FZ
Yesilbahce mah. Metinkasapo÷lu cad       Dubai Cargo Village                  Tel. +44-1293-532 291
Haci Kezban Sitesi Kat:4 no:186/ 6 A     Tel. +971-4-2995 222                 Fax +44- 1293-561 372
Blok.                                    Fax +971-4-2995 244
Antalya                                                                       United Kingdom * Derby (AFR)
Turkey                                   United Arab Emirates * Dubai (OFR)   DHL Global Forwarding (UK) Ltd
Tel: +90 242 311 53 03                   Danzas AEI Inco Emirates LLC         Unit 12, Argosy Road, East Midlands
Fax: +90 242 311 53 32                   P.O. Box 2623                        Airport, Castle Donington Derby,
                                         Dubai Airport Freezone               Derbyshire, DE74 2SA
Turkey Adana                             Tel. +971-4-2995 222                 Tel. +44-1332-812 828
DHL Global Forwarding Tasimacilik                                             Fax +44-1332-812 658
A.S                                      United Kingdom * Aberdeen
Resatbey Mah. Ataturk Cad.               DHL Global Forwarding (UK) Ltd       United Kingdom * Derby
Gen Is Merkezi                           Industrial Projects Division         (Air Express Hub)
No: 22 Kat: 3 Daire:9                    Unit 2, Howemoss Drive               DHL Global Forwarding (UK) Ltd
Adana                                    Kirkhill Industrial Estate           Unit 1
Tel: +90 322 453 9111                    Dyce, Aberdeen AB21 OGL              Argosy Road, East Midlands Airport
Fax: +90 322 453 8102                    Tel. +44-012 2421 4161               Castle Donington
                                         Fax +44-012 2421 4171                Derby, Derbyshire DE74 2SA
Turkey Istanbul                                                               Tel. +44-1332-810 031
DHL Global Forwarding Tasimacilik        United Kingdom * Belfast             Fax +44-1332-850 854
A.S.                                     DHL Global Forwarding (UK) Ltd
Huzurevler Mevkii Merkez Mah.            Unit 2, The Old Mill Business Park
Fatih Cad. 1.Sk. No. 37                  Seven Mile Straight                  United Kingdom * Glasgow (AFR)
34303 B. Halkali, Istanbul               Muckamore Co. Antrim BT41 4QE        DHL Global Forwarding (UK) Ltd
Turkey                                   Tel. +44 (0) 2894 464478             Glasgow Airport, 2 Campsie Drive
Tel. +90-212-692 50 50                   Fax +44 (0) 2894 464428              Abbotsinch, Glasgow PA3 2SG
Fax +90-212 697 3744 (Ocean)                                                  Tel. +0141 303 4800
Fax +90-212 696 1136 (Air)               United Kingdom * Birmingham          Fax +0141 303 4820
                                         DHL Global Forwarding (UK) Ltd
Uganda * Entebbe/Kampala                 Marston Green International Square   United Kingdom * Glasgow
DHL International Uganda , S.A.R.L       Starley Way, Birmingham B37 7HB      (Ocean Freight)
DHL House, Plot 18 Clement Hill Road,    Tel. +44 (0) 121 767 6000            DHL Global Forwarding (UK) Ltd
KAMPALA                                  Fax +44 (0) 121 767 6006 (AFR)       1st Floor, North Extension
Tel : 256 - 31210006                     Fax +44 (0) 121 767 6005 (OFR)       3 Mirren Court
Fax . 256 - 41256236                                                          123 Renfrew Road
                                         United Kingdom * Bristol             Paisley PA3 4EF
Ukraine * Kiev                           DHL Global Forwarding                Tel. +0141 848 7681
Danzas Kiev Ltd.                         Units 1 & 2                          Fax +0141 842 1531
6, Gaidara Str                           Avon Riverside Estate
01033 Kiev                               Victoria Road                        United Kingdom * Leeds
Tel. +XXX-XX-XXXX 046                    Avonmouth                            DHL Global Forwarding (UK) Limited
Fax +XXX-XX-XXXX 045                     Bristol                              Unit G2
                                         BS11 9DB                             Gildersome Spur
Ukraine * Odessa                         Tel: +44 117 916 3200                Leeds
DHL LOGISTICS (UKRAINE)                                                       LS27 7JZ
11 Polskiy Spusk                                                              United Kingdom
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Switchboard: +44 (0) 1132 012680      Preston, Lancashire PR26 7QS           Tel. +1-704-587 6036
Fax: +44 (0)1132 012696               Tel. +44-1772-459 585                  Fax+1-704-587 6048 (Air export)
                                      Fax +44-1772-459 316                   Fax+1-704-583 2564(AFR/OFR Imp)
United Kingdom * Letchworth
(Air Freight)                         United Kingdom * Southampton           USA * Chicago
DHL Global Forwarding (UK) Ltd        (Air Freight)                          DHL Global Forwarding
Unit 13, Such Close                   DHL Global Forwarding (UK) Ltd         10601A Seymour Ave.
Letchworth Garden City                Danzas House, Kestrel Way              Franklin Park, IL 60131
Hertfordshire, SG6 1JF                Dawley Park, Hayes                     Tel. +1-847-233-7900
Tel. +44-1462-481 333                 Middx. UB3 1HJ United Kingdom          Fax +1-847-233-5195
Fax +44-1462-481 205                  Tel. +44-020 8754 5300
                                      Fax +44-020 8754 5006                  USA * Chicago(Ocean Freight)
United Kingdom * Liverpool                                                   DHL Global Forwarding
(Ocean Freight)                       United Kingdom * Staines               10601A Seymour Ave.
DHL Global Forwarding (UK) Ltd        DHL Global Forwarding (UK) Ltd         Franklin Park, IL 60131
7th Floor Corn Exchange Building      Century House, 100 Church Street       Tel. +1-847-233-7900
Fenwick Street, Liverpool L2 7RB      Staines, Middlesex* TW18 4DQ           Fax +1-847-233-5195 (export)
Tel. +44-(0)-151 236 7970             Tel. +44-1784-871 111                       +1-847-233-5199 (import)
Fax +44-(0)-151 236 7403              Fax +44-1784-871 158
                                                                             USA * Cincinnati
United Kingdom * London LON           USA * Anchorage                        DHL Global Forwarding
DHL Global Forwarding (UK) Ltd        DHL Global Forwarding                  1825 Airport Exchange Boulevard
2nd Floor, Flagship House             4041 W. International Airport Rd.      Building J, Suite 200
Kent                                  Anchorage, AK 99502                    Erlanger, KY 41018
Crossways Business Park               Tel. +1-907-243-4301                   Tel. +1-859-371-5867
Dartford, DA2 6QD                     Fax +1-907-243-5905                    Fax +1-859-371-5869
Tel. +44-1322-620 900
Fax +44-1322-620 906                  USA * Atlanta (Air/Ocean Freight)      USA * Cleveland (Air, Ocean)
                                      DHL Global Forwarding                  DHL Global Forwarding
United Kingdom * London LON           2500-A Sullivan Road                   21500 Aerospace Parkway
(Air Freight)                         College Park, Atlanta, GA 30337-6204   Cleveland, OH 44142
DHL Global Forwarding (UK) Ltd        Tel. +1-404 942 0600                   Tel. +1-440-243-5900
Danzas House, Kestrel Way             Fax +1-404 942 0603 (Air export)       Fax +1-440-826-0515
Dawley Park                                +1-404 942 0605 (Ocean export)
Hayes, Middlesex, UB3 1HJ                                                    USA * Dallas (Air Freight)
Tel. +44 (0) 208 754 5000             USA * Baltimore                        DHL Global Forwarding
Fax +44 (0) 208 754 5110              DHL Global Forwarding                  753 Portamerica Place, Suite 102
                                      1901 Park 100 Drive                    Grapevine, TX 76051
United Kingdom * Manchester           Suite 200                              Tel. +1-817-481-5777
DHL Global Forwarding (UK) Limited    Glen Burnie, MD 21061                  Fax +1-817-488-1108
Princemead Place                      Tel.+1 410-4244362                     USA * Darien (Head Office)
Mosley Road                           Fax. +1 410-590-6925                   DHL Global Forwarding
Trafford Park                                                                P.O Box 1231
Manchester                            USA * Boston                           120 Tokeneke Road
M17 1 QA                              DHL Global Forwarding                  Darien, Connecticut 06820
United Kingdom                        500 Rutherford Avenue                  Tel. +1-203-655-7900
Tel: +44 (0) 161 868 3330             Charlestown, MA 02129                  Fax +1-203-655-5734
                                      Tel. +1-617-242 2222
United Kingdom * Newcastle            Fax +1-617-241 0897 (Export)           USA * Denver
DHL Global Forwarding (UK) Ltd        Fax +1-617-241 5081 (Ocean)            DHL Global Forwarding
Airport Freightway Freight Village                                           14309 East 35th Place
Newcastle Airport                     USA * Charleston(Ocean Freight)        Suite 105, Aurora, CO 80011
Newcastle Upon Tyne NE13 8BH          DHL Global Forwarding                  Tel. +1-303-575-7515
Tel. +44-191 271 8100                 7240 Cross Park Drive                  Fax +1-303-375-1315
Fax +44-191 271 8110                  North Charleston, SC 29418
                                      Tel. +1-843-760 2400                   USA * Detroit
United Kingdom * Preston              Fax +1-843-760 3450                    DHL Global Forwarding
(Air Freight)                                                                11400 Metro Airport Center Dr.
DHL Global Forwarding (UK) Ltd        USA * Charlotte                        Suite 100, Romulus, MI 48174
Unit 93, Clydesdale Place             DHL Global Forwarding                  Tel. +1-734-955-6100
Moss Side Industrial Estate           4925 Sirona Drive, Suite 300           Fax+1-734-955-6108
Leyland                               Charlotte, NC 28273
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USA * El Paso                          USA * Indianapolis (Air/Ocean )      USA * Minneapolis
DHL Global Forwarding                  DHL Global Forwarding                DHL Global Forwarding
8470 Gran Vista, El Paso, TX 79907     3902 Hanna Cricle, Suite G           940 Apollo Road
Tel. +1-915-595 5483                   Indianapolis, IN 46241               Eagan, MN 55121
Fax +1-915-591 5092                    Tel. +1-317-821-2420                 Tel. +1-651-994-4988
                                       Fax +1-317-821-2433 (Export)         Fax +1-651-675-2510(Air export)
USA * Fairbanks                        Fax +1-317-821-2435 (Import)         Fax +1-651-675-2550(Import)
DHL Global Forwarding
5200 Airport Industrial Road           USA * Kansas City                    USA * Moline
Fairbanks, AK 99709                    DHL Global Forwarding                DHL Global Forwarding
Tel. +1-907-474-4950                   636 NW Platte Valley Drive,          3100 69th Ave Suite 2
Fax +1-907-474-0155                    Building A3                          Moline, IL 61265
                                       Riveside, MO 64150                   Tel. +1-309-799 8648
USA * Grand Rapids                     Tel. +1-816-741 0506                 Fax +1-309-799 8657
DHL Global Forwarding                  Fax +1-816-741 9133
4717 Broadmoor SE, Suite F                                                  USA * Nashville
Grand Rapid, MI 49512                  USA * Laredo                         DHL Global Forwarding
Tel. +1-616-698 2954                   DHL Global Forwarding                1508 Elm Hill Pike
Fax +1-616-698 2361                    302 Grand Central Blvd               Suite 104 A
                                       Milo Distribution Center             Nashville TN 37210 USA
USA * Greensboro                       Laredo, Texas 78045                  Tel. +1-615-361-7171
DHL Global Forwarding                  Tel. +001-956- 725 0791              Fax +1-615-399-8536
488 Gallimore Dairy Rd-Ste F           Fax +001-956-725 0891
Greensboro, NC 27409                                                        USA * Newark (Air Freight)
Tel. +1-336-668 3327                   USA * Los Angeles                    DHL Global Forwarding
Fax +1-336-668 2971                    DHL Global Forwarding                855 Woodruff Lane
                                       4000 Redondo Beach Avenue            Elizabeth NJ 07201
USA * Greenville/ Spartanburg          Suite 103, Redondo Beach, CA 90278   Tel. +1-908-558-2800
DHL Global Forwarding                  Tel. +310-297-4401                   Fax +1-908-558-2814
150 C West Philips Road                Fax +310-297-4440
Greer, SC 29650                                                             USA * Newark (Ocean Freight)
Tel. +1-864-877-5811                   USA * Memphis                        DHL Global Forwarding
Fax +1-864-877-5702                    DHL Global Forwarding                Ocean Services
                                       4569 Distriplex Dr. W                33 Washington Street– 16th Floor
USA * Harrisburg                       Memphis, TN 38118                    Newark, New Jersey 07201
DHL Global Forwarding                  Tel. +1-901 365 3835                 Tel. +1-973-639-1989
2711 Turnpike Industrial Drive         Fax +1-901 362 8077                  Fax +1-973-848-4630
Middletown, PA 17057
Tel. +1-717-939 1100                   USA * Miami (Air Freight)            USA * New Orleans
Fax +1-717-939 1377 (Exp/Imp/OFR)      DHL Global Forwarding                DHL Global Forwarding
                                       6703 NW 7 Street                     120 Mallard Street, Suite 180
USA * Honolulu                         Miami, FL 33126-6007                 St. Rose, LA 70087
DHL Global Forwarding                  Tel. 011-01-305-262-6300             Tel. +1-504-466-4014
4510 Salt Lake Blvd, Unit D-8          Fax 011-01-305-261-5411              Fax +1-504-466-4888
Honolulu, HI 96818
United States of America               USA * Miami (Ocean Freight)          USA * New York - JFK(Air Freight)
Tel: +1 808 833 2505                   DHL Global Forwarding                DHL Global Forwarding
Fax: +1 808 834 7834                   10205 N.W. 19th street, Suite 101    Building 89
                                       Miami, FL 33172                      JFK International Airport
USA * Houston (Air/Ocean Freight)      Tel. 011-01-305-591 8740             Jamaica, New York 11430
DHL Global Forwarding                  Fax 011-01-305-591 3463              Tel. +1-718-244-3000
19120 Kenswick Dr.                                                          Fax +1-718-244-3085
Humble, TX 77338                       USA * Milwaukee
Tel. +1 (281) 964-2500 (Main)          DHL Global Forwarding                USA * New York (Ocean Freight)
Fax : +1 (281) 964-2624 (Admin)        6120 Ace Industrial Drive            DHL Global Forwarding
Fax : +1 (281) 964-2627 (Ops           Cudahy, WI 53110                     Ocean Services
Forwarding)                            Tel. +1-414-768 8800 (Air)           33 Washington Street – 16th Floor
Fax : +1 (281) 964-2684 (Ops Project   Fax +1-414-768 8807 (Air)            Newark, New Jersey 07102
Cargo                                  Tel. +1-414-768 0146 (Ocean)         Tel. +1-973-639-1989
                                       Fax +1-414-768 9906 (Ocean)          Fax +1-973-848-4630
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USA * Norfolk (Ocean Freight)            USA * Phoenix                        USA * Salt Lake City
DHL Global Forwarding                    DHL Global Forwarding                (Air /Ocean Freight)
5425 Robin Hood Road, Ste 220            4555 E. Elwood St., Suite 111        DHL Global Forwarding
Norfolk Commerce Center 1111             Phoenix, AZ 85040                    4464 West 2100 South Suite #2
Norfolk, VA 23513                        Tel. +1-480-517-0030                 Salt Lake City, UT 84120
Tel. +1-757-857 0021                     Fax +1-480-517-0681 (Import)         Tel. +1-801-975-9580
Fax +1-757-857 1525 (Exp.)               Fax +1-480-517-0860 (Export/Ocean)   Fax +1-801-975-9589
Fax +1-757-857 1537 (Imp.)
                                         USA * Plantation                     USA * San Diego
USA * Oklahoma City (Air Freight)        DHL Global Forwarding                DHL Global Forwarding
DHL Global Forwarding                    1200 S. Pine Island Rd.              9060 Activity Road
2801 S. Purdue S. Suite B                PO Box 189006                        Suite C, San Diego, CA 92126
Oklahoma City, OK 73128                  Plantation, FL 33318                 Tel. +1-858-578-9602
Tel. +1-405-685 2293                     Tel. +1 954 626 4220                 Fax +1-858-578-4104
Fax +1-405-685 2296                      Fax +1 954 626 4313
                                                                              USA * San Juan
USA * Omaha                              USA * Portland(Air Freight)          DHL Global Forwarding
DHL Global Forwarding                    DHL Global Forwarding                Lot 5-b (1)
2502 North 11th Street                   15509 NE Airport Way                 La Ceramica Industrial Park
Omaha, NE 68110                          Portland, OR 97230                   Carolina, P.R. 00984
Tel. +1-402-342 3131                     Tel. +1-503-256-0620                 Tel. +1-787-769 5151
Fax +1-402-342 3276                      Fax +1-503-256-0647                  Fax +1-787-750 3570 (Export)
                                                                              Fax +1-787-769 8650 (Import)
USA * Orlando                            USA * Portland(Ocean Freight)
DHL Global Forwarding                    DHL Global Forwarding                USA * San Francisco
8810 Boggy Creek Rd. Suite 600           Summit NE Cameron Blvd               DHL Global Forwarding – San Diego
Orlando, Florida 32824                   Portland, OR 97230                   7345 Mission Gorge Road, Suite G
Tel. +1-407-851 7520                     Tel. +1-503-258-5039                 San Diego, CA 92120
Fax +1-407-851 7405                      Fax +1-503-256-0647                  Tel: +1 858 578 9602
                                                                              New Fax: +1 800 657 6627
USA * Otay Mesa                          USA * Raleigh / Durham
DHL Global Forwarding – Otay Mesa        DHL Global Forwarding                USA * Seattle
9543 Heinrich Hertz Drive, Building B,   9230 Globe Center Drive #100         DHL Global Forwarding
Suite 7                                  Morrisville, NC 27560                1905 Raymond Avenue SW
San Diego, CA 92154                      Tel. +1-919-572 9168                 98057 Renton
Tel: +1 619 661 8057                     Fax +1-919-572 6631                  Washington
Fax: +1 619 661 8036                                                          United States of America
                                         USA * Raleigh / Durham               Tel: +1 425 981 3500
USA * Peoria                             (Charleston Ocean Freight)
DHL Global Forwarding                    DHL Global Forwarding                USA * Syracuse
207 Main Street, Suite 200               7240 Cross Park Drive                (Air/Ocean Freght)
Peoria, IL 61602                         North Charleston, SC 29418           DHL Global Forwarding
Tel. +1-309-637 1744                     Tel. +1-843-760 2400                 7021 Performance Dr.
Fax +1-309-673 4133                      Fax +1-843-760 3450                  No: Syracuse, NY 13212
                                                                              Tel. +1-315-452-6330
USA * Philadelphia                       USA * Richmond                       Fax +1-315-452-6340
DHL Global Forwarding                    DHL Global Forwarding
850 Calcon Hook Road                     5639 South Laburnum Avenue           USA * St. Louis (Air/Ocean Freght)
Alexander Court, Bay 11-16               P.O:X 38030                          DHL Global Forwarding
Sharon Hill, PA 19079                    Richmond, VA 23231                   611 Lambert Pointe DR
Tel. +1-610-534-7800 (Air/ocean exp)     Tel. +1-804-222-7866                 St. Louis, MO 63042
Fax +1-610-534-7880 (Air/ocean exp)      Fax +1-804-222-5140                  Tel. +1-314-824 5400
                                                                              Fax +1-314-824 5405
USA * Pittsburgh                         USA * Rochester
DHL Global Forwarding                    DHL Global Forwarding                USA * Tucson (Air Freight)
Pittsburgh Industrial Park,              44 Jetview Dr.                       DHL Global Forwarding
R.D. 5,Bldg 5 Spring Run Road            Rochester, NY 14624-4904             2949 E Elvira Road, Suite 191
Extension Coraopolis, Pennsylvania       Tel. +1-716-328 2230                 Tucson, AZ 85706
15108                                    Fax +1-716-436 4225                  Tel. +1-520-294 2659
Tel. +1-724-457 1905                                                          Fax +1-520-889 8403
Fax +1-724-457 1952
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USA * Tucson (Phoenix Ocean)               Zimbabwe * Harare
DHL Global Forwarding                      (Head Office)
4555 E. Elwood St., Suite 111              DHL Global Forwarding
Phoenix, AZ 85040                          AGS Complex, New Cargo Village,
Tel. +1-480-517-0030                       Harare International Airport
Fax +1-480-517-0860                        Harare
                                           Zimbabwe
USA * Washington, D.C.                     Tel. +263-4575595
DHL Global Forwarding                      Fax +263-4575014
1905 Raymond Avenue SW
98057 Renton
Washington
United States of America
Tel: +1 425 981 3500

USA * World Service Center (24 h)
Danzas Corporation
855 South 192nd
Seattle, WA 98148
Tel. +1-800-426-5962

Venezuela * Caracas
DHL Global Forwarding Venezuela
Urbanizacion Colinas de La California
entre Av. San Francisco y Palmarito
Edif. Indulac. Dtto. Sucre
Caracas Venezuela
Tel. +58-212-205 02 00
Fax +58-212-202 02 01

Venezuela * Maracaibo
DHL Global Forwarding Venezuela C.A.
C.C. Ogaret Shopping Center
Circunvalaición Nro.2, con Calle 98-D
Local 20,Planta Alta, Parroquia Cacicue,
Maracaibo, Estado Zulia
Tel. +58-16-88 58 74
Fax +58-16-88 58 74
Vietnam * Hanoi
DHL Global Forwarding
3rd floor INFISCO Building
9 Nguyen Hong Street, Ba Dinh District
Hanoi VIETNAM
Tel. +84-4-3773-7898
Fax +84-4-3773-7899

Vietnam * Ho Chi Minh City
DHL Global Forwarding (Vietnam)
E-Town 2, 11th floor
364 Cong Hoa Street
13 Wsard, Tan Binh District
Ho Chi Minh City
Tel. +84-8-822 6087
Fax +84-8-822 6018

Zambia *Lusaka
DHL International (Zambia) Ltd
First floor, Chester House, Cairo Road
Kachidza Road, Lusaka
Tel. 260 12287804
Fax 260 1286747
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                                      Bolivia * La Paz                           Tel. +537 3308 43/45
Joint Ventures/Agents                 Remac Cargo S.R.L.                         Fax +537 3308 40
                                      Ed. Multicentro – Torre B, Piso 5 of 502
Algeria * Algiers                     Av. Arce, Esq. Rosendo Gutierrez           Cyprus * Nicosia
DHL International (Algérie) s.a.r.l
                                      La Paz Bolivia                             Danzas Logistics Ltd
07 A, Rue Blaise Pascal
                                      Tel. +2 244 2361                           11 Florinis Str City Forum
16006 Algiers
                                      Fax +2 244 2386                            1065 Nicosia
Algeria
                                                                                 Tel. +357-22 559 000
Phone: +213 21 230101 & 230404
                                      Bosnia Herzegovina * Sarajevo              Fax +357-22 559 111
Fax +213 21 230964 & 239555
                                      DHL International d.o.o Sarajevo
Armenia * Yerevan                     Fra Andela Zvizdovica 1                    Djibuti
Unitrans International
                                      71000 Sarajevo                             Inchcape Shipping Services et Cie
20 Mashots Ave apt 3
                                      Tel. +387 33 459 011                       (Djibuti) S.A.
375002 Yerevan, Armenia
                                      Fax +387 33 456 597                        9-11 Rue De Geneve
Tel. +374-1-53 94 25 / 6
                                                                                 DJIBUTI (Republic of Djibuti)
Fax +374-1-53 86 41
                                      Burundi * Bujumbura                        Tel. 00 253 353844
                                      Air Transit International                  Fax 00 253 353294
Azerbaijan * Baku                     Av. De l’Amitie
ACE Forwarding Caspian
                                      P.O. Box 960, Bujumbura                    Dominican Republic * Santo Domingo
25, Zargar Palan Street
                                      Tel. +257 218 989                          Frederic Schad, C Por A.
Baku 370003, Azerbaijan
                                      Fax +257 218 999                           Jose Cabriel Carcia No. 26
Tel. +99450 2217306
                                                                                 Santo Domingo
Fax +994-12 935 318
                                      Canada * Nova Scotia                       Tel. +1-809-221 8000
                                      TL Shipping Services Limited               Fax +1-809-687 0887
Bangladesh * Dhaka                    287 Lacewood Drive, Unit 103, Ste. 419
Trade Clippers Cargo Ltd
                                      Halifax, Nova Scotia                       El Salvador * San Salvador
Road17, Banani Commercial Area
                                      Canada B3M 3Y7                             Cormar de El Salvador
29 BTA Tower, 9 th floor
                                      Tel: 902.468.1728                          Calle y Colonia Roma -240
1213 Dhaka
                                      Fax: 902.468.1786                          San Salvador
Tel. +8802 882873
                                                                                 Tel. +503-245 2200
Fax +8802 863470
                                      Central Afr. Rep. * Bangui                 Fax +503-223 0099
                                      DHL Centrafrique S.A.R.L.
Barbados * Bridgetown                 CO Bangui Country Office                   Ethiopia * Addis Ababa
DHL Barbados Ltd
                                      CF Central African Republic,               Panafric Global p.l.c
Grantley Adams Airport,
                                      Immeuble Socifrance, Avenue                Churchill Avenue
Christ Church
                                      Bartholomy Boganda,                        P.O Box 7408, Addis Ababa H01, K21
Tel. +1-246-418 7800
                                      BP 2256 - Bangui –                         Tel. +253 350642
Fax +1-246-420 7283
                                      Tel. 236 - 618394                          Fax +254 227270
                                      Fax 236 - 619393
Belize * Belize City
                                                                                 Gabon * Libreville
Eurocaribe Shipping Services Ltd.
                                      Congo * Pointe Noire                       DHL International Gabon S.A.
P:O.Box 28, 14 Fort Street
                                      DHL Danzas Air & Ocean c/o DHL             Rue Victor Schoelche
Tel. +501 2278855
                                      Iinternational Congo SPRL                  BP 6113 Libreville
Fax +501 2231657
                                      Avenue Du Marche NO 180                    Tel. +241 721270
                                      P.O BOX 8115 KIN 1                         Fax +241-746885
Benin * Cotonou                       Commune De La Gombe
DHL Global Forwarding Benin
                                      Kinghasa DRC                               Georgia * Tibilisi
Avenue de Lot No 23 Patte D’Oie
                                      Tel. + 243 88 48 322 / 88 48 403           Georgian Express Ltd
032147 COTONOU
                                      Fax : + 243 81 301 39 86                   105, Tsereteli Avenue
Republic of BENIN
                                                                                 0119 Tibilisi, Georgia
P.O.Box 2044
                                      Cook Islands * Raratonga                   Tel. +995-32-999 568
Tel : (229) 30 1085
                                      Rarotunga Freight Services Ltd             Fax +995-3-349303
Fax (229) 30 1770
                                      PO Box 158
                                      Ragatonga                                  Guam * Tumon
Bermuda                               Tel. +682-23361-62                         DHL Guam
BITS Limited (d/b/a DHL Bermuda)
                                      Fax +682-21391                             Airfreight building
16 Church Sreet, Hamilton
                                                                                 Guam International Aiport
Bermuda HM11
                                      Cuba * Havana                              P.O.Box 7296, Tamuning,
Tel. +1-441-295 3300
                                      Laemar                                     Guam, 96911
Fax +1-441 295 4636
                                      San Pedro 1                                Tel. +671-646 6754
                                      Edificio Santo Angel, 1ER Pisco, Plaza     Fax +671-646 9354
                                      Vieja
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Iran * Teheran                          Nas. Ilinden m.v. trnica              Dagon township
Rahavard International Transport Co     1041 Skopje                           Tel. +951-243546
156 Karimkhan-E-                        Tel. +389 2 2532 920                  Fax +951-256079
Zand Avenue, 15847 Teheran              Fax +389 2 2532 994
Tel. +98-21-8393 21/22                                                        Myanmar Thailand Bangkok
Fax +98-XX-XXXXXXX                      Malawi * Blantyre (Head Office)       Service OFR: Sky Line
                                        DHL Global Forwarding                 89/2 Viphawadee Rangist road
Israel * Tel Aviv                       c/o DHL Express                       10210 Thailand Bangkok
FC Flying Cargo                         Chileka International Airport         Tel. +66 2/5338 745/ -750
Int’l Transportation Ltd.               PO Box 1752, Blantyre                 Fax +66 2/5338 781
4 Hamelacha St.                         Tel. 265-1-621 295
Northern Industrial Zone                Fax 265-1-620 631                     Nepal * Kathmandu
LOD 71520                                                                     Swift Air Sea Logistics P.Ltd.
Tel. +972-8-6220900                     Mali * Bamako                         133 Byayam Marg, Bhatbhateni
Fax +972-8-924 3024                     DHL International Mali                 P.O.Box: 3886,
                                        Co Bamako Country Office ML Mali      Kathmandu
Ivory Coast * Abidjan (Air Freight)     Quartier du fleuve Rue no 146         Federal Republic of Nepal
DHL Global Forwarding Cote d’Ivoire     Rez de Chaussée, BP 936 Bamako Mali   Tel. +977-1-4444055, 4410740
International FHB Airport Abidjan       Tel. + 223 222 67 42                  Fax: +977-1-4442252
01 BP 2069 Abidjan 01                   Fax : + 223 222 85 35
Cote d’Ivoire                                                                 Nicaraqua * Manaqua
                                        Malta * Malta                         DHL Global Forwarding (Nigaragua)
Ivory Coast * Abidjan (Ocean Freight)   B.A.S. Ltd.                           S.A.
DHL Global Forwarding Cote d’Ivoire     25 Air Cargo House                    Edificio U
Boulevard Valerie Giscard d’Estaing     Ganni Vassallo Street                 Camino de oriente, Frente a Antiguo
Abidjan, Marcory                        Luga LQA 02                           Lobo Jack.
01 BP 2069 Abidjan 01                   Malta                                 Managua, Nicaragua
Cote d’Ivoire                           Tel. +356 255 84800                   Tel. +505-2255 8700
                                        Fax +356 21 677102                    Fax. +505-2255 8659
Jamaica * Kingston
DHL (Jamaica) Limited                   Mariana Islands * Tumon               Niger * Niamey
19 Haining Road                         DHL WWE                               DHL International Niger S.A.R.L.
Kingston 5, Jamaica                     PO.Box 501087                         Immeuble DHL entr Hotel Tenere, et
Tel. +1-876-920 0010                    Saipan 96950-1087                     Entrelec 27 Boulevard de la Liberte
Fax +1-876-920-9848                     Tel. +1-670/234 7938                  BP 10926 NIAMEY
                                        Fax +1 670/234 6123                   Tel : 227 – 738038
Kyrgyzstan                                                                    Fax : 227 – 738106
Muza Ltd.                               Moldova
107 Kievskaya Str.                      Sergiu Plus Nicolae SRL               Oman* Muscat
Bishkek 720001, Kyrgyzstan              42, Vlaicu-Parcalab Str.              DHL Global Forwarding & Co LLC.
Tel +996 (312) 611116                   2012 Kishinev                         P.O. Box 730
Fax +996 (312) 210744                   Republic of Moldova                   Postal code 133
                                        Tel. +373 2 228002                    AL KHUWAIR (SULTANATE OF
Libya, Tripoli                          Fax +373 2 228056                     OMAN)
Mahri Worldwide Air & Ocean Logistics                                         Tel. + 968 – 24605761
Services                                Mongolia                              Fax + 968 – 24601069
Fallah Area                             DHL International (Mongolia) Ltd
Swani Road off Airport road             DHL House, Peace Ave, 15-A            Palau * Republic of Palau
Tripoli, Libya                          Tel. +32-2-752 0480                   Republic Express Agent
Tel. +218-XX-XXXXXXX/62                 Fax +32-2-752 0481                    POB 497
Fax +218-XX-XXXXXXX                                                           Koror, Palau 96940
                                        Morocco * Casablanca                  Tel. +680 488 2754
Macau * Macau                           DHL Logistics Morocco                 Fax +680 488 1096
Notify DHL Danzas Air & Ocean           131 Boulevard D’Anfa
Hong Kong                               Casablanca, Marocco                   Paraguay * Asuncion
Tel. 852 2400 3000                      Tel. +212-2-229 35 69/70              DHL (Paraguay) SRL
Fax 852 2400 3100                       Fax +212-2-247 58 53                  Av. Brasilia 355 c/Av. Espafia
                                                                              CP 1584, Asunción Paraguay
Macedonia * Skopje                      Myanmar * Yangon                      Tel. +595-21-447701
DHL Freight Macedonia                   Myanmar Euro Pac Forwarding Co Ltd    Fax +595-21-447112
DHL Express Macedonia Dooel Skopje      La Pyayt Wun Plaza, Unit 803
                                        No 37 Alan Pya Pagoda Road
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Rwanda * Kigali                        Fax +590 2930 32                    Tel. +216-71-349366
DHL International Rwanda Ltd                                               Fax +216-71-344330
PO Box 359, Avenue de la Justice       Sudan * Khartoum
Kigali - Rowanda                       Kalzac Consolidated Services        Turkmenistan
Tel. +256 77 787 020                   Horria Street No 4, 3rd Floor       contact D. Irvin
Fax +250 503 785                       Al Mubarak (P.O.Box 1121)           Tel. +32-2-752 0480
                                       Khartoum                            Fax +32-2-752 0481
Saudi Arabia * Dhahran                 Tel. +249-11-763513                 e-mail:
Namma Cargo Serv. Co. Ltd.             Fax +249-11-781339                  brudi@aei.be
PO Box 4189
Alkhobar 31952                         Syrian * Damascus                   Uruguay * Montevideo
Tel. +966-3-8952 222                   Nazha Tarvel, Tourism & Freight     Aero Cargas S.A DHL Global
Fax +966-3-8946 888                    P.O.BOX 2170                        Forwarding
                                       Victoria Bridge, Sabbagh Building   Juan Carlos Comez 1390
Saudi Arabia * Jeddah                  Damascus                            11000 Montevideo
Namma Cargo Serv. Co. Ltd.             Tel.+963 11 222 1857                Tel. +598-2-915-8696
PO Box 6867                            Fax +963 11 224 3933                Fax +598 2-916-1379
Jeddah 21452
Tel. +966-2-672 1251                   Tajikistan                          Uzbekistan*Tashkent
Fax +966-2-674 2799                    DHL Tajikistan/ Dunyo LLC           Transcontinental
                                       175 Lenin Str.                      Sergeli Airport
Saudi Arabia * Riyahd                  735700 Khujand, Tadjikistan         Tashkent, Uzbekistan
Namma Cargo Serv. Co. Ltd              Tel. +992 (3422) 40617              Tel. +998-711 206 201/6873
Olaya Main Road                        Fax. +992 (3422) 46478              Fax +998-712 578 002
PO Box 9260, Riyahd 11413              Call Center: +992 (92)7801111
Tel. +966-1-465 4200                                                       West Samoa * Apia
Fax +966-1-465 7641                    Tanzania * Dar es Salaam            Misipita
                                       DHL International Tanzania Ltd      PO Box 2283
Senegal * Dakar                        Plot 12B, Nyerere Road (Pugu Rd)    Apia
DHL International Senegal.             P.O.Box 3405                        Tel. +685 20270
Rue Léon Gontran Damas x rue F         Dar EI Salaam                       Fax +685 20271
Fann Residence                         Tel. +255 22 2861000-4
BP 3554 Dakar, Senegal                 Fax +255 22 2862703                 Yemen * Sana’a
Tel. 221 8691111                                                           Arab Trading Company Ltd (ATCO)
Fax 221 8247344                        Tchad * Ndjamena                    Danzas – Yemen
                                       DHL International Tchad S.A.R.L.    Atco Building, Zubeiri Street
Slovenia * Kooper (OFR)                155, Avenue Charles de Gaulle       P.O. Box 3617
DHL Logistika d.o.o Brnik Aerodrom     BP 1212 - Ndjamena                  Sana’a
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